           In Re: Scott K. Williams, Debtor




                    October 12, 2023




         Charles Fisher Court Reporting
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22                              HELD BEFORE:                       22
23                         Richard J. Samson                       23
                           Bankruptcy Trustee
24                        310 W. Spruce Street                     24
                           Missoula, MT 59802
25                       Phone: (406) 721-7772                     25

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 1
                           APPEARANCE OF COUNSEL:                   1
 2
                                                                    2                    (Audio began.)
 3
                                                                    3
 4   ATTORNEY APPEARING ON BEHALF OF DEBTOR:
                                                                    4         MR. PATTEN: Sorry, sir. We have one sister that's
 5   Matthew F. Shimanek
     Shimanek Law, PLLC                                             5 not on here. Mary. Is Mary Williams on her? She should be
 6   317 East Spruce Street
                                                                    6 on here.
     Missoula, MT 59802
 7   Phone: (406) 544-8049
                                                                    7         TRUSTEE SAMSON: Hold on just for a second, okay?
     Email: matt@shimaneklaw.com
 8                                                                  8 I might have missed her. Let me see if this is her.
 9   ATTORNEY APPEARING ON BEHALF OF THE DEBTOR'S SIBLINGS, KENT    9         UNIDENTIFIED FEMALE: Yes, that's her.
     WILLIAMS, DUFFY WILLIAMS, BRENDA HARBORS, KAREN PRIEST, and
10   MARY ELLA CARTER:                                             10         TRUSTEE SAMSON: Is that her? See if I can --
11   Eli J. Patten                                                 11         UNIDENTIFIED FEMALE: Yes.
     Crowley Fleck, PLLP
12   490 North 31st Street                                         12         TRUSTEE SAMSON: Let me see if I can get her in.
     Billings, MT 59101
13   Phone: (406) 252-3441
     Email: epatten@crowleyfleck.com
                                                                   13         I'll do this. Let me put her in the waiting room,
14                                                                 14 and then see if I can get her in. Huh, now I'm not seeing
15   Siblings present:                                             15 her at all. Here she is.
16   Kent Williams                                                 16         Okay. I think this is the right one. Mary, can
     Duffy Williams
17   Brenda Harbors                                                17 you hear me okay?
     Karen Priest
18   Mary Ella Carter                                              18         Does that appear to be Mary?
19                                                                 19         UNIDENTIFIED FEMALE: Yes, that is Mary.
20                                                                 20         TRUSTEE SAMSON: Okay. Mary, can you hear us?
21                                                                 21         (Sounds) Gotta love this technology. Let me see
22                                                                 22 if I can figure out what we got going on with Mary. There.
23                                                                 23 Maybe, that's her. Mary, can you hear us? Huh. Let's try
24                                                                 24 this, again.
25                                                                 25         UNIDENTIFIED FEMALE 2: Maybe -- maybe, if someone


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 1 can text her to -- maybe, her mute's on or her volume is         1        TRUSTEE SAMSON: Yeah. Okay.
 2 off.                                                             2       Well, I'm going to go ahead and start, then. Okay?
 3         UNIDENTIFIED FEMALE: Or, maybe, she could wave if        3 In fact, I've had my tape recorder running.
 4 she can hear. But we can't hear her answer.                      4        So, just for the record, this is the creditor
 5         TRUSTEE SAMSON: Yeah. Let me try to admit her one        5 meeting scheduled in Bankruptcy Case Number 22-90147. This
 6 more time. There she is. I don't know why -- I can see her       6 is Scott K. Williams.
 7 talking.                                                         7        I want the record to reflect that Mr. Williams is
 8         Mary, can you hear us?                                   8 appearing today via Zoom video, and he is accompanied by his
 9         Huh. Let me try this. I'm not showing that she's         9 attorney, Matt Shimanek. Okay?
10 -- I -- huh. Huh. Mary, can you hear me now?                    10        Mr. Williams, could I start by having you state
11         UNIDENTIFIED FEMALE: She just said she cannot           11 your name for the record?
12 hear, so...                                                     12        THE DEBTOR: Scott J. Williams.
13         TRUSTEE SAMSON: Okay. Yeah, I'm not seeing that         13        TRUSTEE SAMSON: Thank you.
14 -- I'm not seeing the little microphone symbol, so I don't      14       Mr. Williams, can you raise your right hand for me,
15 know what's going on.                                           15 please?
16         MR. SCOTT WILLIAMS: What -- I noticed, when you         16        THE DEBTOR: Yes.
17 sign in, it asks for audio, or not. Maybe, she needs to         17
18 un-sign in, and re-sign in and ask for audio. There's a         18 (The debtor was duly sworn.)
19 button for audio.                                               19
20         MR. DUFFY WILLIAMS: And if you're speaking, you         20        THE DEBTOR: I do.
21 have to unmute it, and then mute it again.                      21        TRUSTEE SAMSON: Thank you very much.
22         TRUSTEE SAMSON: Yeah.                                   22       Just a couple of preliminary questions. And -- and
23         MR. SCOTT WILLIAMS: I like the beard, Duffy.            23 for those who have gathered today, there's -- there's a lot
24         TRUSTEE SAMSON: Well, there she is.                     24 of questions that I have to ask as part of this meeting that
25         MR. KENT WILLIAMS: I can see that it's unmuted.         25 are what I call "required questions." So, I just ask you to


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 1 And it says -- I can just mute it -- watch this. Watch this.     1 bear with me as I go through and -- and get through that
 2 And it says, where's your --                                     2 information.
 3         TRUSTEE SAMSON: We can hear ya.                          3
 4         MR. PATTEN: Yeah, we can hear you.                       4                   EXAMINATION
 5         TRUSTEE SAMSON: We can hear you, Kent.                   5 BY TRUSTEE SAMSON:
 6         MR. KENT WILLIAMS: Well, mine's muted. And, then,        6 Q. Mr. Williams, when your case was filed, you showed a
 7 when I hit mute, it -- you can't hear me.                        7 mailing address on Spotted Fawn Lane in Bigfork, Montana. Is
 8         TRUSTEE SAMSON: (Laughing) Just leave it the way         8 that still an accurate mailing address for you?
 9 it is so we can hear you, okay?                                  9 A. That's -- that's correct. It's 11423 Spotted --
10         MR. KENT WILLIAMS: All right. Well, I called Mary       10 Q. Yeah.
11 and she didn't answer, but I did get her, and, at that time,    11 A. -- Fawn Lane.
12 she could hear. But, now, I don't know what's happening.        12 Q. Okay. Thank you.
13         TRUSTEE SAMSON: Yeah, I don't know, either. Yeah,       13          TRUSTEE SAMSON: And, for the record, in terms of
14 she, obviously, can't hear us, so...                            14 verification of identity, prior to the creditor meeting today
15         MR. PATTEN: It looks like it's going in and out,        15 Mr. Shimanek had provided me with a copy of Mr. Williams'
16 too.                                                            16 Social Security card, and, also, his Montana driver's
17         TRUSTEE SAMSON: Yeah. And I talked with her at          17 license.
18 the end, when we first gathered at 9:30 I talked with her for   18      I can attest to the fact, based on the information that
19 a second as we -- as everybody was leaving, and I could hear    19 I've reviewed prior to the case, that the Social Security
20 her fine.                                                       20 number provided to me does, in fact, match with the Social
21         MR. PATTEN: She (audio cut out) her phone. I            21 Security number that was provided to the Bankruptcy Court.
22 think we need to go without her.                                22     And now that I've got Mr. Williams on the screen, I can
23         TRUSTEE SAMSON: Yeah. I -- I --                         23 also verify that the picture on his Montana driver's license
24         MR. PATTEN: (Inaudible) We don't have -- we don't       24 does, in fact, match with Mr. Williams, who is appearing on
25 have enough time.                                               25 the screen.


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 1 BY TRUSTEE SAMSON:                                               1 A. Yeah, in Utah a long time ago.
 2 Q. Thank you, Mr. Williams.                                      2 Q. Try to ballpark it for me.
 3 A. Yes.                                                          3 A. Uhm, I'm thinking it was 2019 -- no, 19 -- 1999. So, it
 4 Q. Mr. Williams, in all of these cases, it's always my           4 was about the time I got divorced.
 5 assumption that when you decided that you needed to file a       5 Q. Do you recall, Mr. Williams, if that was a Chapter 7 case,
 6 bankruptcy and you retained Mr. Shimanek for that purpose,       6 a Chapter 13?
 7 that Mr. Shimanek provided you with a list of documents and      7 A. Yeah. 7, yes.
 8 information that he would need so he could accurately prepare    8 Q. Say that, again?
 9 your bankruptcy petition and schedules.                          9 A. 7.
10     Is that a fair assumption on my part?                       10 Q. A Chapter 7?
11 A. Yes, and that he did.                                        11 A. I believe a 7, yes.
12 Q. Okay. And after Mr. Shimanek had completed the               12 Q. Okay. Do you recall if you got a discharge?
13 preparation of the schedules and the Statement of Financial     13 A. Yes, I did.
14 Affairs for filing with the Bankruptcy Court, did you have an   14 Q. Okay. How long have you resided in the state of Montana?
15 opportunity to personally review that information for           15 For, uhm -- since December of 2019, I believe.
16 accuracy?                                                       16 Q. Okay. All right.
17 A. Yes.                                                         17     I'm going to start going through some of the information
18 Q. Okay. And you signed off on all of that information filed    18 in the schedules that were filed with the Court, Mr.
19 with the Court as being true and accurate, correct?             19 Williams. I don't know if you have a copy of your schedules
20 A. Yes, I did.                                                  20 available, or if you're looking at them?
21 Q. Okay. Your case was filed right at the end of September,     21 A. I don't have it in front of me, but I, hopefully, can
22 on September 30th, 2022, so we're about, let's just say, six    22 remember it, or --
23 weeks since your case was filed. In that intervening time       23 Q. Okay. Okay. That's fair.
24 period, from the date that your case was filed through the      24      The first question that I have is, your schedules
25 creditor meeting today on November 10th, have you become        25 reflect that you currently don't have an ownership interest


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 1 aware of any potential changes or corrections to any of the      1 in any real property.
 2 information that you filed with the Court that you'd need to     2      Is that accurate?
 3 advise me of today?                                              3 A. Yes, it is.
 4 A. No, I don't believe so.                                       4 Q. Have you had an ownership interest in any real property at
 5 Q. Okay. So, at this point in time, you believe your             5 any time in the last four years?
 6 bankruptcy paperwork, the schedules, Statement of Financial      6 A. No, sir.
 7 Affairs, and other related documents, remain true and            7 Q. Does your spouse have an interest in real property?
 8 accurate?                                                        8 A. Yes, sir.
 9 A. Yes.                                                          9 Q. Can you briefly describe what her interests are? For
10 Q. Okay. At the time that you filed your bankruptcy case,       10 example, the residence that you're residing in today, is that
11 did you list and disclose all of your assets?                   11 owned by your spouse?
12 A. Yes.                                                         12 A. Yes, it is.
13 Q. And to the best of your knowledge, did you also list and     13 Q. Okay. And, then, I noticed in a -- I was looking through
14 include all of your creditors?                                  14 some of the tax returns and information that you've provided
15 A. Yes.                                                         15 to me, I was looking at your 2020 Federal Tax Return, and it
16 Q. Okay. Mr. Shimanek provided to me copies of your 2021        16 looked -- it looked like there was a mortgage, or something.
17 Federal and State Tax Returns that were filed with, either, I   17      Is that the -- is that based on the residence that
18 believe, the State of Montana or the Internal Revenue           18 you're currently in, or was it a previous residence that you
19 Service.                                                        19 owned in Utah?
20 A. Yes.                                                         20 A. No, we never owned property in Utah. It was just the --
21 Q. Are those true and accurate copies of -- of returns that     21 she just owns this residence that's on Spotted Fawn.
22 were filed with those entities?                                 22 Q. Okay. Alrighty. Thank you.
23 A. Yes.                                                         23     Your schedules reflect that you have an ownership
24 Q. Okay. Have you previously filed for bankruptcy, either       24 interest in a Ford F-250 Lariat, a 2008 F-250.
25 here in Montana or in any other jurisdiction?                   25 A. It's -- it's -- it is an F-350. If -- if we look at the


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 1 title, and everything, it's an F-350.                            1 A. Yes. Uh-huh.
 2 Q. Yeah. And I had seen something when I was reviewing your      2 Q. Now, is that an account that's in your name, solely, or is
 3 information that led me to believe it might have been a 350,     3 your wife on that?
 4 not a --                                                         4 A. My wife's name is on it, but, uhm, she hasn't used it.
 5 A. Yeah.                                                         5 And I don't know that she's ever used it. Maybe, but, uhm,
 6 Q. -- 250. Okay.                                                 6 not for, at least, 10 years has she put money in, or taken
 7 A. Yeah, it is.                                                  7 money out, or used it.
 8 Q. Okay.                                                         8 Q. Okay. And, at this point, your primary source of income
 9 A. (Inaudible)                                                   9 is Social Security, correct?
10 Q. How long have you owned that vehicle?                        10 A. That's correct.
11 A. Since 2 -- I believe, about 2008 or '9.                      11 Q. So, the Social Security funds, do they go into the U.S.
12 No, no, no. It's a 2008 model, so it's about                    12 Bank account?
13 2000-probably-'13, or -'14, I believe.                          13 A. Yes. Uh-huh.
14 Q. Okay.                                                        14 Q. Okay. Are there any other bank accounts over which you
15 A. (Inaudible)                                                  15 have signatory authority that aren't listed or disclosed?
16 Q. Okay. Is that the only vehicle that you have an ownership    16 A. Uhm, no. There -- there was the trust bank account, but
17 interest in?                                                    17 that's disclosed.
18 A. Yes, uh-huh.                                                 18 Q. Okay. Does your wife have bank accounts separate and
19 Q. I saw in some schedules, again looking through tax           19 apart from yourself?
20 returns, and, again, this, I believe, is taken from the 2020    20 A. Yes. Uh-huh.
21 return, --                                                      21 Q. Okay. Uhm, I was going to ask some questions on the
22 A. Okay.                                                        22 trust. I think what I'm going to do is get through some of
23 Q. -- there were some vehicles listed for estate and personal   23 my other questions, then I'll circle back around.
24 property tax reasons. There was a 2014 Cadillac SRX.            24     Uhm, --
25      Does that ring a bell?                                     25 A. Okay.


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 1 A. Yeah. That's my wife, Candy's. Uh-huh.                        1 Q. -- you understand the requirement, uh, that you provide me
 2 Q. Only -- only titled in her name?                              2 with copies of tax returns in the year that you file your
 3 A. Yes.                                                          3 case. So, tax returns for 2022.
 4 Q. Uh, a 2015 Subaru Outback?                                    4 A. Oh, okay.
 5 A. The same thing. That's hers, and it's titled in her name.     5 Q. I'll need to see copies of those.
 6 Q. And, then, there's a 2018 Rockwood, which I have no idea      6 A. Yes.
 7 what a "Rockwood" is.                                            7 Q. And I -- based on what I've seen, it looks like you file
 8 A. A -- it's a camper trailer, and that's also hers.             8 joint returns with your spouse; is that correct?
 9 Q. Okay. And you've never had an ownership interest in           9 A. Correct.
10 those?                                                          10 Q. Okay.
11 A. No.                                                          11 A. Yes. Uh-huh.
12 Q. Did you make any financial contributions at the time that    12 Q. Okay. You indicate in your schedules that you don't have
13 she acquired those vehicles?                                    13 any secured debt, meaning that you don't owe anybody on a
14 A. No.                                                          14 home, anything like that; car.
15 Q. Okay. The Pace -- a 1989 American Pace. Is that another      15 A. Correct.
16 utility trailer?                                                16 Q. Is that a fair statement?
17 A. Yes. It's a utility trailer. Uh-huh. Like, I -- that's       17 A. Correct, yes.
18 in my name.                                                     18 Q. Who holds the lien on the residence that your wife owns?
19 Q. Okay.                                                        19 A. The -- the name of the mortgage company for the --
20 A. I believe in my name.                                        20 Q. Yes.
21 Q. How long have you owned that, Scott?                         21 A. Uhm, it's -- it was provided. It's U- -- I believe, it's
22 A. I believe, since about 2008 or '9, also.                     22 United Mortgage.
23 Q. Okay. Excuse me for two seconds while I -- in your           23 Q. Okay.
24 schedules that were filed, you indicate that you only have an   24          TRUSTEE SAMSON: Matt, where was that provided at?
25 interest in one bank account, and it's with U.S. Bank?          25 Matt, you're muted.


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 1         MR. SHIMANEK: Sorry. Uhm, it -- it might have            1 and I do have a question. It's in response to Question
 2 been provided with the initial documents. But -- but the         2 Number 6. And I understand, Scott, that you don't have those
 3 debtor's name is not on the mortgage, nor on the property.       3 schedules in front of you, but the question has to do with
 4         TRUSTEE SAMSON: No, I understand that. I was just        4 whom you have paid -- who -- who you've paid money to during
 5 asking who -- who held the mortgage on the property.             5 the 90 days before you filed for bankruptcy, "Did you pay any
 6         MR. SHIMANEK: Yeah. I'm looking through the file         6 creditor a total of $600, or more?"
 7 right now to see if I can find that.                             7      And the response was that I think it's a law firm. I
 8         TRUSTEE SAMSON: Okay.                                    8 think it's a law firm. It might be --
 9         MR. SHIMANEK: That is -- United Wholesale                9 A. Yes, it is.
10 Mortgage, is what I recall.                                     10 Q. -- somebody else in, uh, Salt Lake. And you paid them
11         TRUSTEE SAMSON: Okay. Alrighty.                         11 $9,153.33?
12         MR. SHIMANEK: Okay.                                     12 A. That's correct, yes.
13         TRUSTEE SAMSON: I'm gathering some thoughts. Hold       13 Q. And when was that money paid to them?
14 on for a second, okay?                                          14 A. Uhm, end of August. It was the August bill.
15 BY TRUSTEE SAMSON:                                              15 Q. Okay. Uhm, where did you come up with the money to pay
16 Q. Scott, how long have you been receiving Social Security      16 them?
17 payments?                                                       17 A. I paid it with credit cards. That's all I had.
18 A. Uhm, this full year, and, I believe, about half of last      18 Q. Okay. At that point in time, did you have an
19 year.                                                           19 understanding that you might be filing for bankruptcy?
20 Q. Last year? Okay.                                             20 A. No. What happened is we -- we exhausted the trust funds,
21 A. Yeah.                                                        21 which I used for the arbitration. And then I got that bill,
22 Q. Were you working last year up until the time that you        22 and I partially paid it with trust funds. And there was the
23 retired or started collecting --                                23 $9,000 left, so I paid that with my credit card.
24 A. No.                                                          24      Then they asked me for another $60,000 in -- to do the
25 Q. -- Social Security?                                          25 arbitration, and that's when I figured out I couldn't -- I


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 1 A. No.                                                           1 couldn't go on.
 2 Q. Okay.                                                         2 Q. Okay.
 3 A. I was not working, no.                                        3 A. I didn't have the money to do that.
 4 Q. When you worked, were you, uhm -- were you a W-2 employee,    4 Q. Okay. Uhm, I'm just going to, kind of -- kind of come
 5 or were you working for yourself?                                5 back around. So, you were the trustee -- you were the
 6 A. Uhm, when -- in -- what -- what -- when are we talking        6 trustee of your father's trust, the Hugh Williams Trust?
 7 about? My whole life I've been -- I've been both. I've           7 A. Correct, yes.
 8 been --                                                          8 Q. When did your father pass away?
 9 Q. What was --                                                   9 A. In January of 2019.
10 A. I'm -- I'm not --                                            10 Q. Okay. And, then, how -- how soon after your -- your dad
11 Q. What was --                                                  11 passed away did you step into the role as the trustee of the
12 A. (Inaudible) The last time I worked, I've worked -- worked    12 trust?
13 my whole life. So...                                            13 A. Uhm, the day that I became trustee, I guess, would be
14 Q. Okay. Yeah.                                                  14 within 30 days.
15      So, let me come back. That was kind of a nebulous          15 Q. Okay.
16 question.                                                       16 A. I -- I'm not sure exactly how that worked. But I was
17 A. Yeah.                                                        17 personal representative to the courts, --
18 Q. When was the last time that you had W-2 income?              18 Q. Yeah.
19 A. In, uhm, 19- -- no. No. Let's see. In 20- -- 2007, I         19 A. -- and the trustee was appointed after his death.
20 believe.                                                        20 Q. Yeah.
21 Q. Okay. And, then, since then, you primarily were              21 A. But it was, probably, within 30 days, or so.
22 self-employed? Is that a fair statement?                        22 Q. Okay.
23 A. I -- I -- yeah, I've just worked for my dad since then.      23          TRUSTEE SAMSON: And I want to apologize in advance
24 That's -- I work for the Hugh's RV.                             24 to everybody that's here. Uhm, you probably know this ten
25 Q. Okay. I'm looking at the Statement of Financial Affairs      25 times better than I do. I'm playing catch-up here. So, if


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 1 some of the questions that I ask seem redundant, or very         1 A. The house was (inaudible), it was theirs. The property,
 2 obvious, I apologize, but I'm just going to -- I'm going to      2 uhm -- the property was -- we had a valuation within the
 3 go ahead and ask some of these questions and put them on the     3 previous year, and I -- I'm quite sure it was under 3
 4 record. Okay?                                                    4 million. And then I sold that property for 4.9 million by
 5         MR. SCOTT WILLIAMS: You know -- you know, uhm, let       5 getting them entitlements on it.
 6 me revise that. Because the trust -- I -- I would assume         6 Q. Okay. And I'm sure that some of the other people on this
 7 that I became the trustee the day my dad died.                   7 screen know -- know a whole lot -- lot more than I do.
 8 BY TRUSTEE SAMSON:                                               8 A. Sure.
 9 Q. Yeah, probably.                                               9 Q. That $3.2 million valuation that you explained to me, did
10 A. That would --                                                10 that include the home that your father's wife ended up with?
11 Q. Yeah.                                                        11 A. No.
12 A. Yes.                                                         12 Q. No.
13 Q. Yeah.                                                        13 A. No, no. No. No.
14 A. Personal representative, and then went to the --             14 Q. So --
15 Q. I'm just -- I'm just trying to get an --                     15 A. She --
16 A. Yeah.                                                        16 (Phone interruption)
17 Q. -- aerial view.                                              17 A. Yeah, no. It was -- the house that, uh, they lived in
18 A. Yeah.                                                        18 became hers the minute he died. So, it wasn't part of the --
19 Q. So -- and I -- it's my understanding, and I've -- I've       19 Q. Okay.
20 looked briefly, I had requested some of the documents from      20 A. -- estate.
21 Mr. Shimanek. Mr. Shimanek had reached out to me shortly        21 Q. What did the other --
22 after you filed and explained to me some of the circumstances   22         MR. SHIMANEK: Maybe, Dick, just to help you out
23 of what was going on. So, I -- I have a general idea, but I     23 here a little bit.
24 don't have specifics.                                           24     Scott, your -- your father owned a, uhm -- a business
25 A. (Inaudible)                                                  25 property in Salt Lake; is that correct?


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 1 Q. Scott, if you know, when your father passed away and you      1         THE DEBTOR: Yeah. In Salt Lake City, Utah, yes.
 2 became the trustee of the trust, how much money or property      2         MR. SHIMANEK: Yeah. And that business property,
 3 was held in the trust?                                           3 the -- the real estate was an RV sales, or something
 4 A. When he passed away, it was valued -- the property was        4 similar.
 5 valued at about 3.2 million. He had a home; but the day he       5         THE DEBTOR: Right.
 6 died, that became his wi- -- wife's, who was in the middle of    6         MR. SHIMANEK: And -- and that's the real estate
 7 a divorce, and, uhm, some miscellaneous vehicles.                7 that you are saying was worth, approximately, 3 million, plus
 8     So -- so, the value the day he died would have been 3.2      8 or minus?
 9 million in property, and, actually, like -- yeah, 3.2, I         9         THE DEBTOR: Yes. Sold as commercial real estate,
10 think, was the real estate valuation. And --                    10 yes.
11 Q. Okay.                                                        11         TRUSTEE SAMSON: Okay.
12 A. -- some vehicles and equipment.                              12         MR. SHIMANEK: Okay.
13 Q. Maybe, you can help educate me a little bit here, Scott,     13         TRUSTEE SAMSON: Thank you, Matt.
14 from your perspective. I heard you say that the property,       14 BY TRUSTEE SAMSON:
15 including the house, was valued at about 3.2 million?           15 Q. And, then, Scott, I think I heard you say that -- as part
16 A. Yes.                                                         16 of your administration of the trust that you sold that
17 Q. Is that correct?                                             17 property?
18 A. Yes.                                                         18 A. For 4.9 million, yes.
19 Q. Uhm, what happened with the house? You mentioned that        19 Q. Okay. And when did that transaction occur? When was it
20 there might have been an ongoing divorce, or a divorce?         20 sold? When was it finalized?
21 A. So -- yeah. So, they were in -- they were separated and      21 A. It was finalized, I believe, in June of 2019.
22 in the middle of a divorce. The house, by law, passed to her    22 Q. Okay.
23 -- into her name the day he died, because it was held in        23 A. I believe that's correct, yes.
24 joint tenancy, I believe.                                       24 Q. Okay. At that point in time, were you making
25 Q. Okay. Yeah.                                                  25 disbursements to the other heirs?


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 1 A. Within about 30 days I disbursed most of the trust, yes.      1 what she wanted to do.
 2 So, within a -- I -- one disbursement within about 30 days       2 Q. Okay. Uhm, the 1989 Pace enclosed trailer that's
 3 from the end of the sale.                                        3 scheduled and was discussed briefly before here, uhm, --
 4 Q. Okay.                                                         4 A. Uh-huh.
 5 A. So, most of the trust. It turns out all of the trust at       5 Q. -- were -- is that the same trailer, uh, it's a red
 6 this point.                                                      6 trailer, I believe, that were in photographs from Hugh's RV's
 7 Q. Had been distributed to the other beneficiaries?              7 storage yard that were discussed? Those photos were
 8 A. To all of us beneficiaries, yes.                              8 discussed or circulated during the course of the arbitration.
 9 Q. Okay. Alrighty.                                               9 A. I don't recall a picture. It -- it was kept down there,
10     You know, I -- rather than me trying to educate myself      10 so it's possible. I had a couple of vehicles, and a couple
11 at your expense, uhm, I think what I'm going to do, to try to   11 of horse trailers, and some other things there. But I -- I
12 save some time here, because I've got other documents I can     12 never saw it on a picture during the arbitration.
13 look at, uhm, Eli, do you want to go ahead and start asking     13 Q. Uhm, the vehicles and the trailers that you kept down
14 some questions?                                                 14 there, were those items that you owned, yourself?
15          MR. PATTEN: Yeah. Thanks, Dick.                        15 A. Yes. Yes. I had a -- a car and a couple of horse
16                                                                 16 trailers, besides -- and a couple utility trailers, too.
17                   EXAMINATION                                   17 Q. Were -- were those included as a part of Hugh's RV's
18 BY MR. PATTEN:                                                  18 inventory, or were they --
19 Q. Scott, my name is Eli Patten, and I'm an attorney with the   19 A. Never. They were always mine, yeah.
20 Crowley Fleck firm up in Billings, and I'm representing your    20 Q. During the course of your deposition, I understand that
21 sibling side in this bankruptcy case.                           21 you testified regarding a jet boat, uh, that was in --
22 A. Good to meet you.                                            22 A. Uh-huh.
23 Q. Nice to meet you.                                            23 Q. -- Hugh's RV's storage yard?
24      I guess, the -- the first, sort of, sets of questions      24 A. Yes, sir.
25 that I have for you relates to Hugh's RV and the inventory.     25 Q. And do know where that boat is presently?


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 1 A. Okay.                                                         1 A. I don't.
 2 Q. And I understand there were four Shasta trailers? And         2 Q. It -- is that an item you sold?
 3 pardon me for not knowing what a "Shasta trailer" is, that       3 A. No. No. The -- when -- when the, uhm -- no. That's --
 4 were on Hugh's RV lot and part of the inventory.                 4 the -- the items that were left on the lot were not secured.
 5      I understand Karen purchased one of those?                  5 Okay? The -- even the gate was stolen. So, they were never
 6 A. Yes, sir.                                                     6 Hugh's RV inventory.
 7 Q. Or, excuse me. There -- there were four, excluding the --     7      In fact, Duffy can attest that if we called the police
 8 the one Karen had purchased. Where did the money go from the     8 they wouldn't even talk to us, because they -- we didn't have
 9 sale of those Shasta trailers?                                   9 ownership to them. So, there was no -- there was nothing
10 A. Into the Hugh's RV bank account. And that's been             10 down there that was Hugh's RV's, Hugh's, or the trust's, or
11 documented. They have all of the copies of the checks and       11 anything like that.
12 the sales agreements.                                           12      We were, in fact, trying to get rid of all that stuff.
13 Q. Okay. During the -- the course of your employment, or --     13 And a lot of the stuff was stolen. But, basically, I made a
14 or work with Hugh's RV, did you create or own any entities,     14 deal with the guy to clean up the lot, get rid of it, to save
15 operate any entities associated with repairs or sales, or of,   15 the trust money.
16 uh, inventory or -- or goods that were sold through Hugh's      16 Q. So, the -- what's the name of the individual, or the
17 RV?                                                             17 gentleman that you had just mentioned that had cleaned up the
18 A. No, sir.                                                     18 -- the lot there?
19 Q. Uhm, you had mentioned the, uh, Rockwood fifth-wheel         19 A. It -- it was in the last deposition we went through. His
20 travel trailer. Uhm, --                                         20 name was Victor Smith.
21 A. Uh-huh.                                                      21 Q. Do you believe that Victor has that boat, presently?
22 Q. -- were any of Hugh's RV's funds or trust funds used to      22 A. I don't -- I don't -- I don't think he does, no.
23 purchase that, that you then titled in your wife's name?        23 Q. Uhm, and it's my understanding that you were an
24 A. No. She -- she traded in a previous trailer that she had     24 independent contractor then with Hugh's RV? Is that
25 and financed it separately. I was never on that. That's         25 correct?


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 1 A. Yeah. Yeah, I guess. I don't know. We -- we -- I wasn't       1 Q. Okay. Well --
 2 a 1099 employee, I wasn't a W-2 employee. I just worked for      2 A. And -- and the reason for that is simple. It's, like, the
 3 my dad.                                                          3 -- the attorneys were quite sure we would win the
 4 Q. Well, how -- how were you paid? Did you receive weekly        4 arbitration, but they said there was very little chance that
 5 paychecks, or --                                                 5 I would recover the funds. So, I'd be left with a big bill
 6 A. Yes, I --                                                     6 either way.
 7 Q. Yes?                                                          7 Q. Okay. And it was my understanding, based on what you had
 8 A. -- I did. I'm just saying that I never received a 1099 or     8 said before, trust funds were used to pay for your defense.
 9 a W-2, so...                                                     9 A. Yeah. As per the trust, yes.
10 Q. Uhm, and -- and I assume, then, that your personal tax       10 Q. Okay. Why is it that you had distributed to yourself
11 returns would reflect the income that -- that you had           11 approximately 75,000, or -- than you did to the other
12 earned --                                                       12 beneficiaries?
13 A. Yeah.                                                        13 A. Okay. As, uhm, part of the Hugh's RV, which rolled into
14 Q. -- as compensation?                                          14 the trust, my dad had specifically said, and, I believe, at
15     Had you filed every -- each year, over the course of the    15 least three of the other siblings witnessed him saying that I
16 last seven years?                                               16 should receive a severance, or he called it a "retirement,"
17 A. Uhm, not every year, no.                                     17 or something like that.
18 Q. Why is it that you wouldn't file tax returns?                18     So, that was done right upfront, about -- you know, it
19 A. Because I had settled -- we had figured out how much I       19 was done at the initial distribution. In front of everybody.
20 totally earned. There was -- there was questions about how      20 Everybody -- I'm not going to say that everybody signed off
21 Hugh's RV's accounting was done, so I couldn't, uhm, tell       21 on it, but everybody -- nobody complained to me about it.
22 exactly what I made. But we just figured out what I made        22     Since then, I have found out that they complained about
23 when we did the forensic auditing.                              23 it -- amongst themselves about it, but nobody made any
24 Q. Okay. So, have all of those tax years been -- or returns     24 complaint to me, or to the trust, for years. Until the last
25 for all of those years been filed at this point?                25 year, or so.


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 1 A. They've been settled, yes.                                    1 Q. Was that intention noted in writing or agreement, or is
 2 Q. And what do you mean by "settled"?                            2 there any documentation you have that would reflect your
 3 A. With the IRS.                                                 3 father's intentions there with respect to that 75 grand?
 4 Q. Uhm, would you be willing to provide me with copies of tax    4 A. No. But the reason I was able to do it was because the,
 5 returns over the course of the last seven years?                 5 uhm -- three of my sisters had witnessed it. Otherwise, I
 6 A. Uhm, I -- if -- I don't know. I don't believe so.             6 would have just asked for compensation for being the trustee
 7 Q. Okay. And I -- I can chat a little bit further with your      7 right upfront. Which I had not done. For selling the
 8 attorney about that.                                             8 property for 4.9 million, when it was worth considerably
 9 A. Yeah, the --                                                  9 less.
10 Q. So, just moving on here, uh, and moving towards the -- the   10 Q. My understanding is there was donations or tithing that
11 trust, itself, it's the Hugh L. Williams Family Trust? Is       11 had been paid to the church following your father's death,
12 that the correct trust we're talking about?                     12 why is it that you continued doing that with trust funds
13 A. The Hugh, H-U-G-H. Hugh L. Williams Family Trust, yes.       13 following his death?
14 Q. Okay. Were there any other trusts that had been              14 A. Because those were his wishes. He -- he, uhm -- because
15 established or created upon your father's death?                15 of his divorce, and his strained financial position before
16 A. No.                                                          16 his death, he did not pay his tithing as he had done in
17 Q. Well, and we, uh, spoke briefly a little bit before Dick     17 previous years.
18 had asked the question about the -- the, uh, payments you had   18     So, what I did is looked at his previous years, I've
19 made to your attorneys. And you mentioned 60,000, is what       19 provided those documents to Kent, and, basically, it's -- it
20 they had requested, or had you paid them 60,000 previously?     20 was just a matter of his wishes and what he considered a
21 A. No. That -- that is what they -- they had requested --       21 debt. And I believed Dad considered it a debt, and paid
22 the 60,000 that they asked for, I believe on the 1st of         22 what, in my discretion as trustee, was due to the church that
23 September, was to continue with the arbitration and see that    23 he normally would have paid during those years.
24 through, see it finished. So, I could have borrowed money       24 Q. Was there -- I'm sorry, go ahead.
25 from my son, or something, and I chose not to.                  25 A. Well, while it's -- it's -- it -- that's something I could


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 1 petition the church for and get returned to those who want       1 A. I believe it's 426. I think you're just reading it wrong.
 2 it. I feel it's a very legitimate wish of my father. And,        2 Q. Okay. Yeah, I may have -- the 7 and a 6 there, I
 3 you know, it might not be a legal debt, but it's a debt that     3 transposed it, I apologize.
 4 he wanted to see paid.                                           4      When -- when did you receive those funds?
 5     So, if -- if -- if they want it, we could petition the       5 A. In -- I believe, in late June of 2019.
 6 church and give their $800 each back.                            6 Q. Okay. And where have those funds gone? Have you spent
 7 Q. Okay. And similar to the question I had before regarding      7 those -- those monies?
 8 that $75,000 payment that you made to yourself, is there         8 A. Yeah, at -- so I haven't worked since, uhm, 20 -- June of
 9 anything in writing reflecting your father's intentions with     9 2019, I haven't worked. I traveled a little bit, and paid
10 respect to the tithing?                                         10 off my debt.
11 A. Uhm, no.                                                     11 Q. What -- what debts? What --
12 Q. So, that was done at -- based upon your judgment or          12 A. Truck (audio distortion), and stuff like that.
13 discretion?                                                     13 Q. Okay. Did any of those funds go for the purchase of the
14 A. No, based on his words to me.                                14 home in Bigfork?
15 Q. Uhm, moving on here a little bit. My understanding, in       15 A. No. No.
16 your deposition -- we had taken a deposition during the         16 Q. What -- what was the source of the funds for that purchase
17 summer of -- just this past summer, correct?                    17 in -- uh, the house in Bigfork?
18 A. Yes. Uh-huh.                                                 18 A. Candy just, uhm, bought it with -- on her credit.
19 Q. And there was some discussion about the commingling of       19 Q. Was there any cash that had been paid as a -- a down
20 trust assets, Hugh's RV assets, and your wife's assets.         20 payment as a part of that purchase?
21     Do you recall that?                                         21 A. No.
22 A. There was questions of it, yes.                              22 Q. So -- all right.
23 Q. And my understanding is you admitted during the course of    23     Now, as -- as the trustee of -- of the trust, were you
24 that deposition that trust funds had been commingled with       24 responsible for filing Hugh's personal and business taxes?
25 your assets -- with your wife's assets, funds accounts, et      25 A. Yes. Uh-huh.


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 1 cetera?                                                          1 Q. And it was your responsibility that those be accurate,
 2 A. Uhm, not with my wife's assets. That's -- that's              2 correct?
 3 incorrect. They're -- they're talking about an American          3 A. That they be accurate? Yes. And I assume that's correct,
 4 Express card that I used for the business, and that was never    4 yes.
 5 my wife's card. She was a -- she was a signer on it, but she     5 Q. Uhm, and it's my understanding that there were funds that
 6 -- it was not hers.                                              6 had been set aside or were earmarked for payment of property
 7 Q. Okay. What -- "Candy" is your wife's name?                    7 taxes that were either Hugh's RV funds or your father's
 8 A. Candy, C-A-N-D-Y.                                             8 personal funds. I believe it was about $60,000, does that
 9 Q. Okay. And "Williams" is the last name?                        9 sound accurate?
10 A. Yes. Uh-huh.                                                 10 A. How -- how do you mean "set aside"? I don't -- I don't
11 Q. Uhm, in your schedules you had noted a claim or a debt to    11 understand the question. Now, he owed property taxes that
12 your siblings of $130,715.67, how did you determine this        12 were deducted from the sale.
13 amount?                                                         13 Q. And -- and there were no funds, to your memory, that were
14 A. That's what they gave to me. That's the last, uhm --         14 set aside that were intended for --
15 that's the last statement of their atruity (sic) of what they   15 A. There -- there was nothing set aside. We had two bank
16 were claiming in the arbitration. So, they -- it's not a        16 accounts. And he had no credit, and no other funds.
17 judgment, it's not a valid debt, it's just that's what the      17 Q. Okay. Would he maintain cash under the bed, for example,
18 amount they were talking about. So, that's their amount.        18 or in a piggy bank?
19 Q. Okay. Uhm, and we had briefly touched on it, the             19 A. None that we ever found.
20 distribution of cash that you received from the trust, it       20 Q. Uhm, you -- you had mentioned the U.S. Bank account here
21 was, I believe, $476,747.71?                                    21 earlier during Dick's questioning, uhm, --
22 A. No.                                                          22 A. Uh-huh.
23 Q. Is that right?                                               23 Q. -- and my understanding, based on my conversations with
24 A. No.                                                          24 your siblings, is you had mentioned that you utilized various
25 Q. What -- what -- what is the figure?                          25 methods to keep or -- or move money around, and can you


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 1 elaborate on -- on -- on that? Have you moved money from         1 own a Kawasaki motorcycle. I don't even have title to it,
 2 account to account --                                            2 but I have possession of it.
 3 A. I --                                                          3 Q. Do you know what the model is of that particular
 4 Q. -- to --                                                      4 motorcycle?
 5 A. I don't recall, --                                            5 A. It's a KT250, 1975.
 6 Q. -- (inaudible)?                                               6 Q. Uh, and, then, I notice a reference to "Miscellaneous
 7 A. -- Matt, that I -- that I moved money around. But if          7 tools and supplies," are there items that may not have been
 8 you're -- are -- you're talking about Hugh's RV and Hugh's       8 scheduled or -- or referenced there in your schedules, or is
 9 accounts? Is that what you're saying?                            9 it fairly nominal?
10 Q. Well, just generally speaking. Your personal -- business     10 A. No. Or what -- what does it show in -- in tools? I do
11 and personal life?                                              11 have some hand tools. I don't know what we've put down
12 A. My -- in my personal life, all's I did was charge stuff on   12 there.
13 my credit cards, and paid those -- or, excuse me. In -- as      13 Q. Any other specific items of equipment or -- or tools,
14 far as my dad's business, I charged stuff on my credit card     14 beyond just hand tools?
15 for his expenses, and then paid those back.                     15 A. No.
16      In my personal life, I -- as far as the company goes, I    16 Q. Uhm, are -- are there any other assets that you can think
17 believe there were, uhm, times when I would not have enough     17 of that may have come to mind here, since you've filled out
18 money in the business account, and may have written a check     18 these schedules, that were not included, but should be
19 for, like, $1,000 from my personal account to his business      19 included?
20 account.                                                        20 A. No. No. There's nothing of any value. And that Kawasaki
21     There were also times I didn't take my pay for weeks at     21 has no value. It's rusted, and missing parts, and it's -- it
22 a time, because he didn't have the funds available. But, no,    22 should be hauled off.
23 that's all it was. If -- if it was it, I mean, I derived a      23 Q. Uhm, kinda taking a step back here a little bit. The 4.9
24 paycheck from them, and I got that, put it in my U.S. Bank      24 million is what the Hugh's property sold for?
25 account. But most of the time it was straight forward.          25 A. Yes. Uh-huh.


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 1 There was just a few times when I probably had to write a        1 Q. And do you recall what the net amount distributed to the
 2 check to cover something that -- that he didn't have money to    2 beneficiaries of the trust were, individually?
 3 cover.                                                           3 A. Each member of the trust got, uhm, 351,000. So -- so, a
 4 Q. Okay. And -- and just to make sure I've got this clear,       4 -- a large chunk of it went to his wife. And, then, what was
 5 the U.S. Bank account that you mentioned, that's the only        5 left was, uhm, 300-and -- I believe it was 351,000, each.
 6 account you've maintained over the course of the last 10, or     6 And, on mine, I got the same, but with 75,000 for the
 7 so, years?                                                       7 severance retirement.
 8 A. Yes. Uh-huh. Of my personal, yes, that's -- that's it.        8 Q. And -- and of that 426,000 that you mentioned, how much of
 9 Q. Uhm, moving on here to -- to your schedules, uhm, and I       9 that do you have remaining in -- in your possession, or in an
10 noticed that there were no firearms or -- or guns referenced    10 account?
11 there, do you own or possess any firearms?                      11 A. No. None.
12 A. I do not, no.                                                12 Q. So, in -- in the last two-and-a-half years, or so, you
13 Q. Does your wife own or possess any firearms?                  13 spent all of that?
14 A. Uhm, yeah. She has a -- yeah, she has a gun.                 14 A. Yeah.
15 Q. Okay. What is that?                                          15 Q. Did you give of that -- those monies to your wife?
16 A. It's a .9 milli- --                                          16 A. Uhm, no.
17 Q. The model?                                                   17 Q. Uh, do you believe your wife personally benefited or
18 A. Uhm, it's a .9 millimeter, uhm, handgun.                     18 utilized any of Hugh's RV's assets, or -- or the trust
19 Q. And you don't own or possess a -- an AR-15-style --          19 assets?
20 A. Never. No.                                                   20 A. Absolutely not, no. No.
21 Q. Do you own any Kawasaki motorcycles?                         21 Q. What does your wife do to -- for a living?
22 A. I actually, uhm, have a -- a Kawasaki junk motorcycle.       22 A. She's a -- works for mortgage company out of Salt Lake
23 That's true, I do. I have a -- a motorcycle that has been       23 City.
24 sitting outside for about 20 to 25 years now.                   24 Q. What -- what is her position or title with that company?
25      It's, uhm, value is, probably, zero. But I do, in fact,    25 A. Uhm, I believe it's payroll manager. I'm not sure what


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 1 her exact title is, but that's what she does.                    1 years. Before that, I -- I have no idea, except that my dad,
 2 Q. Do you know how much the monthly mortgage obligations are     2 basically, was lucky to break even yearly and have the
 3 on the residence?                                                3 property paid for.
 4 A. I -- not -- I -- I looked at that when I turned it in, but    4     So... And that's what he always tried to do, is keep
 5 I'm not sure. I think it's, like, 1,700 or 1,800 a month.        5 the -- he always figured the value of the property would go
 6 Q. What do you believe the value of the property to be           6 up, but -- and, uh, that's all he had to do was keep his
 7 presently?                                                       7 payments made and he'd -- he'd come out ahead.
 8 A. I -- I have no idea.                                          8 Q. Can you elaborate a little bit? You just mentioned when
 9 Q. And do you know what the purchase price was?                  9 the business was "in the most trouble," what do you -- what
10 A. No.                                                          10 do you mean by that?
11 Q. Uhm, is your wife obligated on any of the credit cards       11 A. Well, he was in -- Hugh's wife, previous wife -- actually,
12 that you had included as a part of the schedules of unsecured   12 still wife, I guess, was -- got in financial trouble. He
13 creditors?                                                      13 kept loaning her money and trying to help her out, and that
14 A. No. She has her own.                                         14 kind of spiraled down to where he ruined his credit and --
15 Q. And does your wife have her own American Express card,       15 and had no extra money in his business.
16 then, too?                                                      16     And got into financial trouble, and that lead to a
17 A. Yeah.                                                        17 divorce. And, then, it was even worse, because we had
18 Q. And I'm kind of coming to the end of my list here. My        18 attorneys bills, and such.
19 understanding is you purchased your father's dining room        19 Q. Uhm, for, uh, 2019, that was the last year you had worked
20 table or tables for $1,500 from one of your siblings as a       20 with Hugh's RV?
21 keepsake, do you still --                                       21 A. Yes. Uh-huh.
22 A. Yeah.                                                        22 Q. And approximately how much did you take home that year?
23 Q. -- have that table?                                          23 A. Uhm, I believe -- I don't have -- I don't remember. I
24 A. Uhm, yes, I do.                                              24 don't have it in front of me. But it was, probably, like,
25 Q. What do you consider its value to be?                        25 uhm -- I -- I don't know. I hate to say without looking at


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 1 A. Uhm, probably -- I -- I could sell it up here -- I don't      1 it.
 2 know what on, like, KSL.com in Salt Lake it would go for,        2 Q. Yeah. Can you give me an approximation? 200,000?
 3 but, up here, I could probably sell it for 75 to $100. It's      3 A. I -- I think the number we put on it was, like, 30,000.
 4 -- it's pretty beat up on the top. It -- it's not, uhm, in       4 Q. Okay.
 5 very good. But it's still a -- you know, it's -- I'm -- I'm      5 A. That I was paid.
 6 going to refinish it and keep it, because it's -- was my         6 Q. How about for 2018, do you recall?
 7 dad's.                                                           7 A. No, I don't, offhand.
 8 Q. Uhm --                                                        8 Q. And -- but your tax returns would reflect --
 9 A. Yes, it needs to be resurfaced, but I'm going to do that.     9 A. Yeah. Yeah.
10 Q. And just one additional question here for ya. Uhm, on any    10 Q. Okay.
11 given year, uh, what was the -- the gross revenue for Hugh's    11          MR. PATTEN: I don't have anything further.
12 RV?                                                             12      Dick, does that bring anything else to mind here?
13 A. In any given year?                                           13          TRUSTEE SAMSON: Not for me. I'm still playing
14 Q. Yeah. If you can give me an average or -- or an              14 catch-up, Eli.
15 approximate?                                                    15          MR. PATTEN: I'm doing a little of the same myself
16 A. Uhm, that's -- I have no idea, other than the last, uhm,     16 here, as well. So...
17 20 -- well, actually, I don't even have that number in front    17          MR. DUFFY WILLIAMS: Is it possible for me to ask
18 of me. I can't think of it off the top of my head.              18 any questions?
19     But the revenue, uhm, he -- he barely broke even with       19          MR. PATTEN: Sure.
20 paying his mortgage payments for most of his life. And,         20          TRUSTEE SAMSON: Sure.
21 then, uhm, actually, the last two years we were profitable,     21
22 when we were in the most trouble. We made the most money in     22                    EXAMINATION
23 the last couple of years, and we were profitable.               23 BY MR. DUFFY WILLIAMS:
24     So, uhm, I don't -- I don't know. But they have all         24 Q. Scott, didn't you make about 70,000 a year? Isn't that
25 that information. They have the taxes for the last few          25 what you paid yourself the last years?


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 1 A. No. It was -- it was about 60, somewhere in there. But        1          MR. DUFFY WILLIAMS: Yes.
 2 when you --                                                      2          TRUSTEE SAMSON: Okay.
 3 Q. So, 5 -- 5 -- how much per month? 5,000?                      3          MR. DUFFY WILLIAMS: And my que- -- and my que- --
 4 A. I was paid --                                                 4 if I can, my question is, is that trailer that he listed the
 5 Q. What was your -- what was your pay?                           5 red trailer that was in the storage at Hugh's RV? Is that
 6 A. That's correct, I was paid 2,500 twice a month. So,           6 the same trailer that he's talking about on his -- that he
 7 5,000. 60,0000. And, then, commission. But I didn't get          7 listed?
 8 those commissions in those years, so... So, basically,           8          TRUSTEE SAMSON: Okay. Fair question.
 9 you're right, that was it.                                       9          THE DEBTOR: No. It's -- it was never in storage
10 Q. So -- so, do -- you live in a home with your wife, does it   10 at Hugh's RV.
11 come as a surprise to you that the value of your home listed    11 BY MR. DUFFY WILLIAMS:
12 on Zillow is $1,070,000?                                        12 Q. So, the trailer that you listed on the thing is not red?
13         MR. SHIMANEK: That's not a question --                  13 A. It is red, yes.
14         THE DEBTOR: And that's -- yeah, that's not --           14 Q. Does it have a rack on the top?
15         MR. DUFFY WILLIAMS: Why isn't it a question?            15 A. No. There's no --
16 How's it not a question? He said he --                          16 Q. There's no rack on top of the --
17         TRUSTEE SAMSON: Well --                                 17 A. No.
18         MR. DUFFY WILLIAMS: -- didn't know the value of         18 Q. -- trailer?
19 his -- the home that he's living in.                            19 A. No.
20         THE DEBTOR: That's -- it's -- Zillow is not --          20 Q. So, where did you purchase that trailer?
21 Zillow, I doubt, is --                                          21 A. Uhm, from an individual in about 2009, I believe.
22 BY MR. DUFFY WILLIAMS:                                          22 (Inaudible)
23 Q. Okay. Okay. But it's not 300,000, right? It's a -- it's      23 Q. And you registered it in 2009 in your name?
24 a valuable home, right?                                         24 A. No.
25 A. The home? It's -- I don't know. I don't know what we         25 Q. Is it registered in your name now?


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 1 based it on. I believe Matt based it on the tax, and I           1 A. Yes.
 2 believe it's at 450. And then (inaudible) --                     2 Q. What year did you register it?
 3 Q. Okay. Well, let --                                            3 A. In 2000- -- uhm -- well, right before I moved up here.
 4 A. -- that.                                                      4 Q. So, you registered it in about 2019, when Dad died?
 5 Q. -- let me ask you another question.                           5 A. Uhm, probably, 2020.
 6      Is the trailer that you listed on your bankruptcy           6 Q. So, you -- you purchased a trailer from somebody in 2009,
 7 papers, it's not -- that red trailer is the trailer that was     7 but you didn't register it until 2020?
 8 in the inventory down at Hugh's RV?                              8 A. That's correct.
 9 A. No.                                                           9 Q. Why?
10          MR. SHIMANEK: I believe that's already asked           10 A. Because I didn't need it.
11 answered, too.                                                  11 Q. So when you moved to Montana, you needed the trailer?
12          THE DEBTOR: Yeah, that's been answered.                12 A. Uh, yes. That's what I used to move.
13          TRUSTEE SAMSON: I just want to clarify.                13 Q. So, if --
14      Whoa. Slow down.                                           14         TRUSTEE SAMSON: Duffy, can I -- can I just
15          THE DEBTOR: Okay. Okay.                                15 interject for a second, Duffy --
16          TRUSTEE SAMSON: Let's go back. What trailer are        16         MR. DUFFY WILLIAMS: Sure.
17 we talking about?                                               17         TRUSTEE SAMSON: -- and -- and Scott? I was --
18          THE DEBTOR: The utility trailer, he's asking           18 just to try to clarify, to try and, maybe -- I do have a copy
19 about.                                                          19 of that title to that trailer.
20          TRUSTEE SAMSON: The '89 American Pace. Because I       20      Now, the title that I'm looking at is a title,
21 -- if we're asking questions about assets that aren't on the    21 Certificate of Title from the State of Montana. It looks to
22 schedules, then it's -- it's -- it's hard. So, I want to        22 me like the trailer was probably titled in Montana in May of
23 make sure, Duffy, that the question that you're asking is the   23 2020, and the title was issued by the Motor Vehicle Division
24 -- related to the 1989 Pace American utility trailer? Is        24 for Montana on July 10th of 2020.
25 that correct?                                                   25      I don't know if there was a -- what we call a -- a


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 1 previous title, like you say, out of the State of Utah. I --     1     So -- so, your question was, was I responsible to secure
 2 I don't have that information on my screen.                      2 the property? I'm not sure that I was. It's -- none of the
 3 BY MR. DUFFY WILLIAMS:                                           3 property was the trust's, anybody's that I know that was
 4 Q. Can I -- is -- is this the trailer we're talking about?       4 there. I -- I know your stuff was there.
 5 A. No. Huh-uh. That's -- no. It's --                             5      So, you're saying that I was responsible to you to
 6 Q. So, the trailer -- so the trailer that's in this photo is     6 secure your property, but the bottom line is, Duffy, we both
 7 a different trailer than what you have?                          7 tried to secure the property, the -- the fence. And even the
 8 A. That's correct.                                               8 fence was stolen by the time things got cleared out.
 9 Q. So what happened to this trailer, Scott?                      9      So, I -- we made, I would say, a reasonable effort to
10 A. I don't know. As you -- as you recall there, you were        10 secure everything, and it was an unsecurable location. I
11 there, Duffy, there were several items that were stolen or      11 mean, they stole, literally, the fence and the gate.
12 missing. Remember, there was a gray one that went missing,      12 BY MR. DUFFY WILLIAMS:
13 too. And I don't know. That lot was not secure.                 13 Q. Was Dad's personal Trooper in that property?
14 Q. (Inaudible) But wasn't it the -- wasn't it the, uh,          14 A. Uhm, yes, it was.
15 responsibility of the trust to secure all of those items in     15 Q. So, wasn't that part of it, that you just said that --
16 that yard?                                                      16 A. It --
17 A. Uhm, I don't know how it would be. I think the               17 Q. -- there was no property of the trust, but wasn't all of
18 responsibility of the trust was to, uhm, clear the lot, so      18 the property, on that State property, property of the trust,
19 that the sale could proceed. And, that, we did.                 19 or in care of the trust?
20 Q. Well --                                                      20 A. No. No. You're right, the Trooper was listed as an item
21 A. And, after that, the -- the -- the responsibility was to     21 in the trust. It had to be removed from Dad's garage, and we
22 get the property cleared up for -- that we rented from UDOT     22 put it there. It was of questionable valuable -- value when
23 and the City of North Salt Lake.                                23 we put it there. It was determined to be of no value,
24 Q. Okay. So -- so, let's be clear. So everybody                 24 because it had electrical problems that were more than the
25 understands. Because I did take part in this.                   25 value of the unit.


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 1 So, --                                                           1     But we -- you and I both tried to secure it as best we
 2 A. Yeah.                                                         2 could. And I --
 3 Q. -- the property that was sold out of the trust for $4.9       3 Q. We both did.
 4 million was cleared before the sale, and the -- all the items    4 A. Yes. That you tried to secure it as much as anybody,
 5 were moved onto the leased portion at the end of the property    5 because you had your own personal vehicles there. Is that
 6 that the State of Utah owned.                                    6 correct?
 7 A. Correct.                                                      7 Q. What -- what did I have there?
 8 Q. Okay. So -- so, wasn't it the trust's responsibility to       8         TRUSTEE SAMSON: Whoa. Whoa, whoa, whoa.
 9 secure all of our items that were in the trust; a Trooper,       9         THE DEBTOR: (Inaudible)
10 cars, trailers, boats, my Kenworth truck, my forklift that      10         TRUSTEE SAMSON: Scott? Scott?
11 was down there being used?                                      11         THE DEBTOR: Yes. Okay.
12 A. Well, hold on. You're saying that I'm responsible            12         TRUSTEE SAMSON: Okay. You've made your point.
13 because --                                                      13         THE DEBTOR: Okay.
14 Q. You don't see how this -- I'm saying --                      14         TRUSTEE SAMSON: But, unfortunately, at this point,
15 A. -- the --                                                    15 you don't get to ask questions back to Duffy. I understand
16         TRUSTEE SAMSON: Let's everybody whoa. Let's just        16 this is kind of a heated matter, and I --
17 everybody hold on for a second.                                 17         THE DEBTOR: Okay.
18         THE DEBTOR: Okay.                                       18         TRUSTEE SAMSON: And I appreciate everybody kind of
19         TRUSTEE SAMSON: Uhm, I'm not even sure -- I --          19 keeping their cool here. Uhm --
20 what I heard was a question that was asked by Duffy to Scott    20         MR. DUFFY WILLIAMS: Yeah. So -- so, I'm -- sorry.
21 about did you secure that property. Okay?                       21 I'm just trying to ask some crucial questions. I mean,
22     And, then, Scott, I think you're entitled to a chance to    22 wasn't the Trooper part of the trust, and he was the trustee
23 respond to it, but I don't want people talking over each        23 responsible to --
24 other.                                                          24         THE DEBTOR: The -- the Trooper was very,
25         THE DEBTOR: Okay.                                       25 obviously, part of the trust, and listed. At the time that I


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 1   checked on it, and -- and tried to figure out its value, I     1 Q. Isn't it more like --
 2   valued it at $500. After I looked into it further, I -- it     2 A. It still had the sticker on it -- the sticker on it when
 3   was valued at zero. But we did everything reasonable to        3 it blew up.
 4   secure it. It just wasn't a securable piece of property.       4 Q. Okay, Scott, we've got a lot to get through, so just
 5         TRUSTEE SAMSON: Scott, can I ask a -- Scott, can I       5 answer the question.
 6   ask a question?                                                6 A. Okay.
 7         THE DEBTOR: Yes.                                         7 Q. Don't you -- don't you consider the value of your Ford
 8         TRUSTEE SAMSON: I understand that -- that the            8 F-350 more -- to be more like 13, 14,000?
 9   Trooper, if that's what we're talking about, belonged to your 9 A. No. It's -- it's rusting out. It's got -- everything
10   father, and it was included as trust property.                10 else on it is going bad. It's -- I -- I got a -- I tried to
11          THE DEBTOR: Yes.                                       11 see -- I -- I took it to a dealership, they wouldn't even
12          TRUSTEE SAMSON: I'm also hearing from the 12 give me anything for it. But I -- I took it to a Carvana
13   conversation, or from the questions and answers, that there 13 deal, they offered me $300.
14   were efforts made to try to secure it. However, what          14 Q. Yeah. Well, it pulls up on NABA as $14,000, roughly.
15   ultimately happened to the Trooper? And, then, maybe, all of 15 A. Yeah, and that's not correct.
16   the family members know the answer to that, but I don't. 16 Q. Okay. So, the -- the Kawasaki motorcycle that you talked
17          THE DEBTOR: They do. They do. So -- so, it was 17 about, what parts is it missing? Because the last time I saw
18   hauled -- it was towed at expense from his garage to the 18 it, it was, like, a complete motorcycle.
19   property, the only other place we had to put it, which was 19 A. No. It's missing --
20   the leased property on the -- that was attached to the        20 Q. And it was in great shape, and (inaudible) item.
21   commercial property that was sold.                            21 A. You can have it. You can come and get it and have it.
22       That was secured by a fence and a gate. We locked the 22 It's --
23   gate. Okay? The -- in the meantime, after we sold the 23 Q. Okay.
24   property, I inspected the Trooper, tried to sell it and see 24 A. It has no -- it has no --
25   what it's worth, but it wouldn't even -- I -- I -- I got a    25 Q. I'll -- I'll take it.


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 1 battery and tried to start it. I traced down where it had a     1 A. It's been sitting outside. It has rust in it.
 2 printed circuit prob- -- problem.                               2 Q. I'll take it. Enough said.
 3         TRUSTEE SAMSON: Okay.                                   3 A. It has no value.
 4         THE DEBTOR: So, the bottom line is it was of no         4 Q. It's an antique.
 5 value at that point, so then I had it disposed of when I        5         So, when -- when you were managing Hugh's RV,
 6 cleaned the rest of the property.                               6 didn't you tell the family members that you had set aside two
 7         TRUSTEE SAMSON: So --                                   7 years' taxes for the property?
 8         MR. DUFFY WILLIAMS: Okay.                               8 A. No.
 9         TRUSTEE SAMSON: Duffy, go ahead.                        9 Q. To hide from the (audio distortion)?
10 BY MR. DUFFY WILLIAMS:                                         10 A. No. You had said that in the deposition, and I -- no.
11 Q. Do you remember me offering the trust $1,600 for the        11 Q. Well, you personally told me that, didn't you?
12 Trooper?                                                       12 A. No.
13 A. No.                                                         13 Q. You never said that?
14 Q. Okay. Well, now, let's move on --                           14 A. No. I -- I had no -- I mean, you knew that I was
15         UNIDENTIFIED FEMALE: I offered to buy it, too.         15 borrowing money from (audio distortion).
16         TRUSTEE SAMSON: Okay.                                  16 Q. I -- I know, but I don't really buy that.
17 BY MR. DUFFY WILLIAMS:                                         17     But, listen. So, out of the $426,000 that you received,
18 Q. Let's move on from the Trooper. What -- did your F-3 --     18 you don't have any of that money left?
19 did your Ford F-350 have a brand new engine put in it?         19 A. No. I -- I haven't had a job since -- since then.
20 A. Yes.                                                        20 Q. And you have --
21 Q. What year?                                                  21 A. (Audio distortion)
22 A. In -- it's been -- I -- I don't know about that. I don't    22 Q. And you listed that you have $200 worth of clothes.
23 know.                                                          23 A. I -- I don't know what a piece of clothes is worth. I do
24 Q. I mean, isn't it --                                         24 have some clothes, but I don't have anything of value. I
25 A. That truck --                                               25 mean, this Car-- what's a Carhart worth, you know? I have


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 1 t-shirts and a few dress shirts. I have one suit.                1         THE DEBTOR: Yes. They -- they have them, in fact.
 2         TRUSTEE SAMSON: Let's -- let's move along some           2         TRUSTEE SAMSON: Okay. Let's go to the next
 3 more.                                                            3 question.
 4         UNIDENTIFIED FEMALE: I have a question.                  4     Has this all been handled through this, uhm, --
 5         MR. KENT WILLIAMS: Richard? Richard? Richard?            5         THE DEBTOR: Arbitration.
 6 Can I ask just a few questions?                                  6         TRUSTEE SAMSON: -- arbitration?
 7         TRUSTEE SAMSON: Well, let's let Duffy finish up,         7         THE DEBTOR: Yeah.
 8 first, okay?                                                     8         MR. DUFFY WILLIAMS: Okay. I just -- I just have
 9         MR. KENT WILLIAMS: Okay.                                 9 one -- I just have one question left, I think.
10 BY MR. DUFFY WILLIAMS:                                          10         TRUSTEE SAMSON: Okay.
11 Q. So, uh, Scott, you said you didn't -- I mean, you're the     11         MR. DUFFY WILLIAMS: So, Scott's -- we're here, you
12 manager and the trustee, and you were -- you worked at Hugh's   12 know, discussing the bankruptcy. So, the things that Scott
13 RV for, uhm, 12 years, but you said you don't know what         13 listed on his -- in the bankruptcy papers as the schedules is
14 Hugh's RV brought in. I mean, that's odd.                       14 he -- he listed five sibling, and he listed one attorney's
15 A. No. There is --                                              15 firm that we now have seen the checks from what he's paid the
16 Q. But isn't it -- isn't that -- hold on, this is my            16 attorney, and it's somewhere over $60,000 --
17 question.                                                       17         THE DEBTOR: That's et cetera.
18     Didn't it bring in $360,000 a year, plus?                   18         MR. DUFFY WILLIAMS: -- out of the tr- -- out of
19 A. That -- I don't know where you're getting that number.       19 trust money that was our money. He, uhm -- he has listed
20 Q. That's the last --                                           20 some of his credit cards that --
21 A. (Audio distortion)                                           21 BY MR. DUFFY WILLIAMS:
22 Q. That's the last, uhm, statement that you gave paperwork on   22 Q. My question to you, Scott, is, is your purpose in filing
23 the bank account's deposits.                                    23 Chapter 7 basically only to get out of what you took out of
24 A. Okay.                                                        24 the trust from the beneficiaries? Because you don't have --
25 Q. In 2000-and -- in 2018.                                      25 you haven't listed a huge medical bill, you haven't listed a


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 1 A. No, no. 2018? It brought in that much money you're            1 detrimental thing that happened in your life.
 2 saying?                                                          2     So, Kent brought you to an arbitration, and, by the way,
 3 Q. Yeah.                                                         3 you took over $60,000 of the trust money that was earmarked
 4 A. Okay. So, then, what are the expenses?                        4 for us as beneficiaries to pay lawyers' fees for questions
 5 Q. Well, you had property -- I -- I guess, that would be         5 that you were obligated to answer under the trust to us, and
 6 questions to you. But you had a property payment of between      6 protected yourself using that money, under the protection of
 7 6 and 7,500 a month.                                             7 the trust.
 8 A. Yeah.                                                         8     So, my question is, did you file Chapter 7 just for the
 9 Q. I mean, so the -- so, if you take 300-and -- just,            9 benefit of not paying the beneficiaries because we wanted
10 roughly, 360,000 divided by 12, that's 30,000 U.S. dollars a    10 answers of where the balance of the money was and where it
11 month.                                                          11 was going?
12 A. Of income, you're saying, minus only the -- the --           12      I mean, do you have any hard --
13 Q. Of gross income brought into Hugh's RV.                      13 A. (Inaudible)
14        TRUSTEE SAMSON: Well, look --                            14 Q. -- do you have any hardships, other than what the
15        THE DEBTOR: You -- you -- Duffy, you have the            15 arbitration had brought you to? Because you filed bankruptcy
16 taxes for that year. Look at it. You have -- you have --        16 the day before the arbitration.
17        TRUSTEE SAMSON: The --                                   17 A. No. And it wasn't the day before the arbitration. But --
18        THE DEBTOR: You have --                                  18 Q. Two days.
19        TRUSTEE SAMSON: The --                                   19 A. -- (inaudible) is the hardship was the cost of attorneys
20        THE DEBTOR: You have the general ledger --               20 to defend the trust from questions that had already been
21        TRUSTEE SAMSON: The tax returns will show what the       21 answered ad nauseam. I very clearly, according to my
22 netting -- it'll show what the gross and what the net was.      22 attorneys, would have won the arbitration, but --
23        THE DEBTOR: Yeah, they will.                             23          TRUSTEE SAMSON: Was there a decision in the
24        TRUSTEE SAMSON: Are cop- -- are copies of tax            24 arbitration?
25 returns available?                                              25          THE DEBTOR: No.


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 1        TRUSTEE SAMSON: Oh, okay.                                1
 2        THE DEBTOR: We didn't -- we didn't get through the       2                 FURTHER EXAMINATION
 3 arbitration.                                                    3 BY MR. PATTEN:
 4        TRUSTEE SAMSON: Okay.                                    4 Q. Scott, was -- were any of those funds used to defend the
 5        UNIDENTIFIED FEMALE: There's been no answers in          5 lawsuit that was brought against the trust against Duffy for
 6 the arbitration.                                                6 the fraud allegations?
 7        THE DEBTOR: There are -- all the answers are --          7 A. I'm not sure about his number, where he's getting it, but
 8 have been given in paperwork that Kent has. And I assume you    8 there was -- there was a fraud allegation against Duffy that
 9 have them, because Kent has them.                               9 turned into an alleg- -- an allegation against me of the
10        TRUSTEE SAMSON: Okay.                                   10 trust that money was spent from trust funds to defend that
11        MR. DUFFY WILLIAMS: Okay.                               11 case, also.
12        THE DEBTOR: So --                                       12         MR. DUFFY WILLIAMS: Sorry -- sorry, Mr. Samson, I
13        TRUSTEE SAMSON: Uhm --                                  13 realize we're not in a court of law. I -- I was finished,
14        MR. DUFFY WILLIAMS: One last question.                  14 but they brought up a point that involves me, so I have one
15        THE DEBTOR: So --                                       15 more question to Scott, if you'd allow it?
16        TRUSTEE SAMSON: This is your last one, and then         16         TRUSTEE SAMSON: You go right ahead.
17 I'm moving on.                                                 17         MR. DUFFY WILLIAMS: Okay.
18        MR. DUFFY WILLIAMS: Okay. Fair enough. Fair             18
19 enough.                                                        19                 FURTHER EXAMINATION
20 BY MR. DUFFY WILLIAMS:                                         20 BY MR. DUFFY WILLIAMS:
21 Q. Was all of the money that was paid to McConkie for the --   21 Q. Scott, in the defense of a bill and a debt that I owed,
22 the lawyer's fees to -- for this case? Because you paid over   22 did you not tell Brian, Mr. Anderson, my lawyer, that you
23 $60,000, and we -- and our -- and our whole attorney bill to   23 would pay him out of the trust the bill that I owed him,
24 this point is 11,000.                                          24 which you had no right to do, and didn't you, by doing so,
25 A. So, you -- you all have an attorney bill, that's each of    25 bring that problem upon yourself?


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 1 you?                                                            1     That had not -- the prob- -- the -- the -- the lawsuit
 2 Q. No. The total bill is 11,000, and yours is over 60,000.      2 that you took 4 -- $4,000 and paid that bill out of, that was
 3 Plus you're filing bankruptcy on 26,000 more. How is that       3 your problem, not my problem. Because hadn't I settled the
 4 even possible? That's my question. How's that possible?         4 debt with, uh, Ander- -- uh, with -- with him before -- my
 5 A. So, you're questioning the billing practices of Kirton       5 lawyer before that? How did you have the right to take money
 6 McConkie.                                                       6 out of the trust to protect yourself against something that
 7 Q. I'm questioning you, as the trustee, how you spent over      7 you personally brought on yourself?
 8 $60,000 of trust money --                                       8 A. I didn't bring anything on myself. I never made any
 9 A. (Inaudible)                                                  9 statement to your attorney that I would pay your bill for
10 Q. -- (inaudible) just to represent you on this case?          10 you, ever. Didn't do anything like that. It all came from
11 A. Okay. First of all, there's two questions there. And I'm    11 you lying to --
12 not sure the exact amount. I've been locked out of the bank    12         TRUSTEE SAMSON: Okay. Okay. So, either, "Yes" --
13 account now. Apparently, you guys have -- have somehow,        13         THE DEBTOR: -- me about going --
14 without a court order, got into the bank account.              14         TRUSTEE SAMSON: Okay. And part of the problem
15 Q. Well, you -- you've been removed as the trustee, Scott.     15 here is that we are going to try to maintain some kind of
16 A. By what? There's no --                                      16 semblance of a legal proceeding.
17 Q. Well, right in the trust -- yeah. So, all of us voted --    17         THE DEBTOR: Yes.
18         UNIDENTIFIED FEMALE: Yeah, and we can do it.           18         TRUSTEE SAMSON: Albeit, a quasi-judicial at this
19         TRUSTEE SAMSON: Okay.                                  19 point. So, you guys can ask a question, and, Scott, you can
20         MR. DUFFY WILLIAMS: (Inaudible)                        20 answer with a "yes" or a "no," or a further, but we're not
21         TRUSTEE SAMSON: Okay.                                  21 going to be telling --
22         THE DEBTOR: To answer your question, Duffy, yes,       22         THE DEBTOR: Right.
23 all money went into the defense of the trust.                  23         TRUSTEE SAMSON: -- somebody that they lied.
24         MR. PATTEN: I -- I do have a follow-up question,       24 That's just not going to fly.
25 Dick. Just one here.                                           25         THE DEBTOR: I see.


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 1         MR. DUFFY WILLIAMS: Yeah. Because I held that            1 look, they could find that in the trust document?
 2 back, and I'm done (inaudible) --                                2          THE DEBTOR: Yes. Yes, we could.
 3         TRUSTEE SAMSON: Okay. Thanks -- Thanks, Duffy.           3          TRUSTEE SAMSON: Okay.
 4         MR. DUFFY WILLIAMS: -- and I appreciate it.              4      Kent, do you have another question?
 5         TRUSTEE SAMSON: Uhm, Kent, I think you had some          5          MR. KENT WILLIAMS: Yes, I do.
 6 questions.                                                       6 BY MR. KENT WILLIAMS:
 7         MR. KENT WILLIAMS: Thank you, Richard.                   7 Q. The other question is that in the accounting that you --
 8                                                                  8 after we took -- after I took legal -- someone (inaudible)
 9                   EXAMINATION                                    9 for it from the trust we finally started to get some of the
10 BY MR. KENT WILLIAMS:                                           10 accounting, you supplied us with a complete billing of the
11 Q. Scott, in the trust (inaudible) does it not say that his     11 Amex account which you used for your funds, the trust funds,
12 wishes are all of his assets can be divided equally to all of   12 and Hugh's RV funds, is that -- you provided us that?
13 the (audio distortion)? Doesn't it not say that in the          13 A. I provided an accounting of all accounting for Hugh's RV
14 trust?                                                          14 and the trust, yes.
15 A. That's one of (audio distortion), yes.                       15 Q. Okay. And does -- isn't it clear that this trust fund
16 Q. And I'm -- I'm losing some of the audio, but --              16 money is the RV's monies to pay off the Amex account? Is
17 A. Okay.                                                        17 that not clear?
18 Q. -- you admit that the trust states that all of the           18 A. It was used, yes, all through -- since 2015, the -- the
19 siblings are supposed to be paid equally, correct?              19 Amex card with -- my Am- -- personal Amex card was used for
20 A. Yes. With certain caveats. It says taxes are to be paid,     20 the business, and payments were made directly to them.
21 lawyers are to be paid, all of those things. Debts are to be    21 Q. Okay. But isn't it clear in the trust that you were not
22 paid. So, it's --                                               22 to intermingle personal funds or trust funds?
23 Q. But all -- but all of the assets that are left over are      23 A. I -- I -- I understand that question, but -- but it had
24 supposed to be paid equally to all of the siblings, is that     24 already been being done for years and we had no choice. The
25 not -- that's what the trust states.                            25 only other choice would have been to close the business. I


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 1 A. It says that, but you're taking it out of context. It         1 simply was propping up the business with my credit cards.
 2 also says that you have to pay bills and debts.                  2 Q. So, isn't it clear that on that Amex account you
 3 Q. So, the balance is supposed to be (audio cut out) all of      3 personally were charging funds? Isn't that clear?
 4 the siblings; is that correct, Scott?                            4 A. Me using -- me using it, also? Yes, it is.
 5 A. Yes. Every -- yes, that's -- it's -- everything has been      5 Q. Okay. Isn't it clear, also, that your wife, Candy, was
 6 divided equally --                                               6 also using and charging funds in that account for travel, for
 7 Q. Okay.                                                         7 grocery payments?
 8 A. -- according to the trust.                                    8 A. She -- yeah, she was -- yes.
 9 Q. Okay. So, then, --                                            9 Q. So she was using that fund, correct?
10 A. (Inaudible)                                                  10 A. We were both using it. Then we added Hugh's RV, when Hugh
11 Q. -- where does it say in that trust that you can pay          11 lost his credit card. So, yes.
12 yourself $5,000 more than any other sibling? Or state that      12 Q. Okay.
13 you can pay yourself out of the trust funds $75,000 (audio      13 A. But -- but it wasn't her account --
14 cut out)?                                                       14 Q. So, you -- so, you are admitting -- you're admitting that
15 A. It -- it clearly states that Hugh's RV rolled into the       15 Candy, your wife, was using the Amex credit card, and Hugh's
16 trust the debts of Hugh's RV and were part of the estate.       16 RV was paying the bill for the Amex credit card. Is that
17 Q. There is no debt in Hugh's RV to pay you $75,000; is that    17 not --
18 correct?                                                        18         MR. SHIMANEK: Dick, I'd -- I'd like to -- the
19          TRUSTEE SAMSON: Are -- are there -- are there --       19 audio is so messed up on my end, I'm not sure if it is for
20 I'm just going to keep interjecting myself here, because        20 everyone else, that I can't hear clearly if these are
21 we're going to keep asking and answering the same question.     21 allegations that the trust was paying the bill, or Hugh's,
22     Are there any provisions in either the will or the trust    22 the business entity, was paying the bill when the dad was
23 that the trustee is entitled to reasonable compensation?        23 still alive. There's confusion --
24          THE DEBTOR: Yes.                                       24         TRUSTEE SAMSON: Yeah.
25          TRUSTEE SAMSON: And that if somebody was going to      25         MR. SHIMANEK: -- from my standpoint. I -- I can't


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 1 pick it up with the audio --                                     1 BY MR. KENT WILLIAMS:
 2         MR. KENT WILLIAMS: Yeah, let me see if I turn this       2 Q. Is that correct, Scott?
 3 down, the volume, if it helps.                                   3 A. Dude, I'm not sure -- I'm lost of what you're saying
 4         TRUSTEE SAMSON: Yeah. And --                             4 there. But here's the facts. I had a card in my name.
 5         MR. KENT WILLIAMS: Is that clearer?                      5 Candy is a co-cardholder. She was using the card, also.
 6         TRUSTEE SAMSON: And from -- let -- let me just           6     Then I began using it, at Hugh's request, to prop up
 7 explain something. I -- I'm trying to give the parties more      7 Hugh's RV, because it's the only credit card with enough
 8 leeway than they would ever have if they were sitting in a       8 credit limit to do the things we needed to do.
 9 courtroom with a judge. I'm trying to give you that leeway.      9     But, on top of that, I -- I also used a Chevron card
10 But when you ask a question, and it's answered, I think we      10 that was only mine and charged that up, and another part
11 need to move on. And I -- you guys are asking a whole bunch     11 place card that was only mine. So, Candy was a cardholder,
12 of what I call "leading questions" that you'd never be able     12 but there's no way to say she benefited from any of this.
13 to ask in a courtroom.                                          13 Because, in the end, the trust still owes me $37,000.
14     Again, I'm trying to give you some leeway. I understand     14 Q. Okay. Let's move on here.
15 there's a lot of tension, and a lot of anxiety. So, if we       15     Scott, (inaudible) do this. In the revenue that was
16 can kind of take it down a notch.                               16 coming into Hugh's RV there was a lot of cash trading hands.
17         MR. KENT WILLIAMS: Okay.                                17 For storage, but also in the rental revenue income. What
18         TRUSTEE SAMSON: Try to ask a question without           18 happened to that cash?
19 assuming something at the beginning of the question, I'll --    19 A. Okay. So, there's -- the rental revenue income that was
20 I'll give you that opportunity.                                 20 cash, I -- I'm not sure what you're saying, but any rentals
21         MR. KENT WILLIAMS: Okay. So, I just --                  21 through, uhm -- Del Monte was the rental agency, and Budget
22         THE DEBTOR: So, what was your question, Kent?           22 Truck, we had separate card swipes that went through their
23 BY MR. KENT WILLIAMS:                                           23 particular things. So, that went directly to their bank, and
24 Q. I just want to make it clear that your wife, Candy           24 then they paid us back commissions.
25 Williams, was able to use trust funds and Hugh's RV funds to    25     Then you're saying that in the -- in the storage, there

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 1   personally pay the Amex card.                                  1   was occasionally some cash, that's correct, but almost
 2        MR. SHIMANEK: Again, I think this question, --            2   everybody was on a credit card monthly deal, or prepaid by
 3        TRUSTEE SAMSON: Yeah.                                     3   check. So, there was very little cash. Although, it did
 4        MR. SHIMANEK: -- though, Dick --                          4   occasionally happen.
 5        THE DEBTOR: That's -- yeah, that's not --                 5       I kept a $200 cash on hand for that, and the money went
 6        TRUSTEE SAMSON: Hey, Kent, part of the problem is         6   -- if we got cash, it was put into the bank. Occasionally,
 7   that when you're -- when you're talking, and for some reason   7   we used it for gas, or something else.
 8   on the Zoom it's breaking up. And, so, I'm not going to have   8           TRUSTEE SAMSON: Can I -- can I just interject
 9   a clean recording of the question.                             9   something?
10       I think what you're trying -- I think the fact that       10       And, Scott, this is more of a question directed to you.
11   you're trying to establish is that there was this Amex credit 11           THE DEBTOR: Yes. Uh-huh.
12   card, and that if I heard Mr. -- Scott's testimony was that, 12            TRUSTEE SAMSON: My experience is, and I -- I mean,
13   yeah, the Amex card was being used to pay a lot of expenses, 13    I'm sitting here today in the capacity as a trustee, --
14   including some of his own personal expenses.                  14           THE DEBTOR: Yes.
15       And, I think, Kent, what you're trying to establish       15           TRUSTEE SAMSON: -- so I kind of have a general
16   through your questioning is the fact that it looks like       16   idea of what a trustee's duties are. In relationship to the
17   Scott's wife, Candy, also had access to that credit card. Am 17    Hugh Williams Trust, did there -- I'm assuming that the trust
18   I anywhere close to being correct on my interpretation? 18         had some kind of a provision that you were to account for
19           MR. KENT WILLIAMS: Exactly correct, is that Candy 19       income and expenses of the trust on a regular basis.
20   Williams was (audio distortion) and financially from the 20           Is that a fair assumption on my part?
21   trust and from Hugh's RV.                                     21          THE DEBTOR: Yes, it's yearly.
22           TRUSTEE SAMSON: Okay. Okay. Alrighty. 22                          TRUSTEE SAMSON: Okay. Did you have accountings
23           MR. KENT WILLIAMS: Commingled funds. 23                    done by a professional accountant or someone other than
24           TRUSTEE SAMSON: Yes.                                  24   yourself? Did you have that accounting done on an annual
25           MR. KENT WILLIAMS: (Inaudible)                        25   basis?


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 1         THE DEBTOR: Okay. Uhm, as far as --                   1     to me, Scott, and I'm sorry to interrupt ya, but my time is
 2         TRUSTEE SAMSON: Just "yes" or "no." "Yes" or          2     running short. I've got another meeting. I have the
 3   "no."                                                       3     discretion, as the trust -- as the trustee, to either adjourn
 4          THE DEBTOR: Uhm, yes, I believe. The trust was 4           or conclude the meeting.
 5   only open for a year. It took us, uhm, almost a             5         My thought is -- Eli, is that this is a classic example
 6   year-and-a-half to get it done.                             6     of where you need to notice up and conduct a Rule 2004
 7          TRUSTEE SAMSON: Okay, Duffy.                         7     examination, which is, essentially, a function -- the
 8      Okay. So -- so, here's another follow-up question. Who   8     functional equivalent of a deposition, and then subpoena the
 9   prepared the trust accountings?                             9     documents that your clients think that they need.
10          THE DEBTOR: The CPA firm of Swift -- Swiftcurrent 10              MR. PATTEN: Right.
11   in Kalispell, Montana.                                     11            TRUSTEE SAMSON: Matt, do you disagree with that?
12          TRUSTEE SAMSON: Okay. And are -- are copies of 12                 MR. SHIMANEK: I don't disagree. And, Dick, I
13   those annual accountings available?                        13     think one of the issues becomes one of, again, the
14          THE DEBTOR: They've all been given out over a year 14      questioning here.
15   ago.                                                       15            TRUSTEE SAMSON: Yeah.
16          TRUSTEE SAMSON: Was there a final accounting? You 16              MR. SHIMANEK: I think we're talking about cash
17   mentioned that -- that the estate was closed, I'm assuming 17     coming into the business. Not into the trust, into the
18   that's what you mean?                                      18     business. So, that was prior to the establishment of the
19          THE DEBTOR: It is -- it's not closed. It's still 19        trust. And, so, I -- I think that it's gotten so convoluted
20   open, because --                                           20     as to what's being asked.
21          TRUSTEE SAMSON: Okay. So has there been a final 21                TRUSTEE SAMSON: Yeah. That -- and that's why I'm
22   accounting for 2021?                                       22     asking if there was accountings done. I -- I -- if I
23          THE DEBTOR: For 2021? Yes, that's been given to 23         understand it, and this is a guess on my part, but it sounds
24   them.                                                      24     to me like, from 10,000 feet, what happened is Mr. Williams
25          TRUSTEE SAMSON: Okay. Does the -- does the -- 25           passed away, the trust kicked in, but, in the meantime, the

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 1   does the trust have any income or expenses to report for      1   business was still being operated until it could be sold.
 2   2022?                                                         2      And, so, I think that, under those circumstances, there
 3         THE DEBTOR: No. Well -- well -- okay, no. Okay.         3   should be an accounting that would include all of the
 4   No income, but in 2022 we have legal bills and a few CPA      4   business income from the time that the trust was created
 5   bills.                                                        5   until the time that the property was sold.
 6          TRUSTEE SAMSON: Okay. And, then, prior to 2021, 6             And -- and that's the trust information that the trustee
 7   was there an annual accounting completed?                     7   should have in his possession, or have it already compiled,
 8          THE DEBTOR: Yes.                                       8   based on Scott's testimony.
 9          TRUSTEE SAMSON: Okay. And have those been -- have 9              THE DEBTOR: Yeah. And that's correct. Your
10   copies of those annual accountings been provided to the 10        Honor, if I can -- if I can just say this. Basically,
11   beneficiaries of the trust?                                  11   everything has been emailed to each of them.
12          THE DEBTOR: Yes.                                      12         TRUSTEE SAMSON: Okay.
13          TRUSTEE SAMSON: Okay.                                 13         THE DEBTOR: It has been given to the attorneys.
14          UNIDENTIFIED MALE: Have any of you received any of 14      And, in fact, at this point, if they -- I believe they have
15   those accountings, any of the beneficiaries received those 15     already accessed the -- the only bank account, the trust bank
16   accountings from Scott?                                      16   account.
17          UNIDENTIFIED FEMALE: No.                              17       So, I would say that they have in their hands
18          THE DEBTOR: Yes. I can give you -- uhm, I can 18           everything.
19   give you copies of emails right now where we sent those. 19              TRUSTEE SAMSON: Okay.
20          TRUSTEE SAMSON: Okay. Just --                         20          THE DEBTOR: They have, in fact, (inaudible) the
21          THE DEBTOR: And -- and, then, it's even deeper 21          trust account. I sent you a --
22   than that, because of we've already been through this -- the 22          TRUSTEE SAMSON: I -- I don't -- you know, I'm --
23   -- the beginnings of an arbitration, there's already been 23      I'm not going to -- Scott, I'm not going to sit here and say
24   depositions and (inaudible) --                               24   you -- I -- I can't agree whether you mailed or didn't mail
25          TRUSTEE SAMSON: Well, it seems to me -- it seems 25        it, emailed it, however. That'll be a -- that's a -- that's


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 1 a disputed fact that will have to be determined.                1          MR. KENT WILLIAMS: In what year? He refused the
 2          THE DEBTOR: Yeah, we can (inaudible) 15 minutes --     2   accounting --
 3          TRUSTEE SAMSON: Kent --                                3          MR. DUFFY WILLIAMS: That was done last year,
 4          MR. KENT WILLIAMS: Can I -- can I ask one more         4   Scott. That was just done last year.
 5 question?                                                       5          THE DEBTOR: Finally, last year. Before that --
 6          TRUSTEE SAMSON: Yes.                                   6          TRUSTEE SAMSON: Okay. Okay.
 7 BY MR. KENT WILLIAMS:                                           7          MR. DUFFY WILLIAMS: That was three-and-half-years
 8 Q. Scott, you just stated that you had sent an (audio           8   ago.
 9 distortion) --                                                  9          TRUSTEE SAMSON: And I -- and I fully understand
10          TRUSTEE SAMSON: Kent, we're having a problem with     10   that there's a dispute between the beneficiaries and the
11 you breaking up, again, and I'm not getting your --            11   trustee as to whether or not this information was provided.
12          MR. KENT WILLIAMS: Okay. Hold -- hold on.             12   I also assume that's why this was headed to an arbitration.
13 BY MR. KENT WILLIAMS:                                          13       And I think what's going to happen, as this thing goes
14 Q. Scott, you have -- you just test- -- your testimony just    14   forward, depending on what the beneficiaries and their
15 stated that you had an accounting for this -- every year the   15   counsel decide to do, some of these questions will be
16 trust was active; is that correct?                             16   answered. If the information is there, it's there, and it'll
17 A. Yeah, that's correct. Now, 2022 is not due yet.             17   be shared. But I don't think we're going to gain any ground
18 Q. No, no, no. Hold on. Hold on. I'm asking, --                18   today by sitting here arguing during a creditor meeting
19 A. That's correct. Yeah, that's correct.                       19   whether or not the information -- whether or not it was ever
20 Q. -- did you supply an accounting each year? You didn't       20   provided.
21 (audio cut out) anything. I know it was requested by an        21         THE DEBTOR: They have all --
22 attorney.                                                      22         TRUSTEE SAMSON: Or the timing of the information.
23          TRUSTEE SAMSON: Kent? Kent, now --                    23      Duffy, you had one more question, I think?
24          MR. KENT WILLIAMS: (Inaudible)                        24         MR. DUFFY WILLIAMS: Well, you guys mentioned --
25          TRUSTEE SAMSON: -- now you're taking your question    25         TRUSTEE SAMSON: Now, when you say "you guys," who

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 1   and you're twisting it in with facts that you think.       1      do you mean, Duffy?
 2      The question is --                                      2            MR. DUFFY WILLIAMS: Well, you. You, sir. You,
 3           MR. KENT WILLIAMS: Okay.                           3      sir, had mentioned that the business was still running after
 4           TRUSTEE SAMSON: -- did he or did he not provide a 4       my father died, and Scott was still receiving a paycheck
 5   trust accounting to the beneficiaries every year? He's     5      running the business, that I just want to mention that once
 6   saying that he did.                                        6      -- the day that my father died, the trust took over. And
 7      Is that correct, Scott?                                 7      Hugh's RV should have become part of the trust, and any and
 8           THE DEBTOR: No, no. Here -- here's what they're 8         all of that money and accounting should have been under the
 9   saying. Okay? It's not that I did it every year, it's that 9      trust.
10   the first two or -- what? Two years were not -- were not 10          Because the trust owned Hugh's RV the day he died.
11   supplied until two years when the forensic accounting was 11             THE DEBTOR: And I --
12   done.                                                        12          MR. DUFFY WILLIAMS: It was a DBA, and none, zero,
13          TRUSTEE SAMSON: Okay.                                13 any money was ever deposited into the trust account. That
14          THE DEBTOR: So, they have all of it. It wasn't 14 was an infraction by the trustee.
15   supplied timely at first because of the accounting problems 15        TRUSTEE SAMSON: Okay.
16   we had.                                                     16        THE DEBTOR: The -- the --
17          TRUSTEE SAMSON: Who -- who did the forensic 17                 TRUSTEE SAMSON: And, so --
18   accounting? Who retained -- who retained the company to do 18         THE DEBTOR: -- the bank accounts were assumed by
19   the forensic accounting?                                    19 the trust. You're saying that I would have to go move the
20          THE DEBTOR: I did. The trust did.                    20 credit card machines to -- from Hugh's RV to --
21          TRUSTEE SAMSON: And -- and who did -- who 21                   MR. DUFFY WILLIAMS: What credit cards? You're
22   completed the forensic accounting?                          22 saying that you had all of the credit cards.
23          THE DEBTOR: Swift -- Swiftcurrent in Kalispell, 23             THE DEBTOR: No. The credit cards --
24   Montana.                                                    24        TRUSTEE SAMSON: Okay. Okay. Okay.
25          TRUSTEE SAMSON: Okay.                                25     Eli, I -- I think what we're going to do here, I know


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 1 Karen had a question, but I think what I'm going to do is        1      The next --
 2 we're going to move ahead. Uhm, I'm going to go ahead and        2 A. (Inaudible)
 3 adjourn the meeting. I -- I think you and your clients can       3 Q. The next question is, you stated in that conversation that
 4 decide if you want to do a deposition or a Rule 2004 exam.       4 you had unlimited funds. You had attorneys that would not
 5      Otherwise, we're going to be sitting here all day           5 charge you a dime, and you could, uhm, go as long as you
 6 arguing over certain things. And I think I've given you and      6 wanted to go. I said, "You know, this is a problem for us,
 7 your clients a lot of leeway here today.                         7 because you haven't paid out in a timely manner, and you say
 8          MR. PATTEN: We -- we appreciate it, Dick. And,          8 it's there. It's less than we expected, but it's sitting
 9 certainly, we'll look forward to getting our hands on some of    9 there." And you wouldn't pay it out.
10 these documents --                                              10      So --
11          TRUSTEE SAMSON: Okay.                                  11 A. The taxes were not paid yet. We had to --
12          MR. PATTEN: -- and we'll follow the procedures.        12 Q. No. No.
13          TRUSTEE SAMSON: Can I -- Karen, I saw that you had     13 A. -- (inaudible).
14 your hand raised. And if you want to ask a question, I want     14 Q. The taxes -- no.
15 to give you that opportunity.                                   15 A. The taxes weren't paid.
16          MS. PRIEST: I have -- okay.                            16 Q. You said everything -- nothing was -- you told me that
17          MS. CARTER: I have two questions, too.                 17 everything was taken care of and the only thing that was
18          TRUSTEE SAMSON: Okay.                                  18 needed was for your brothers to sign their forms. Which I
19          MR. PRIEST: Mary Ella, I'll go ahead.                  19 said --
20                                                                 20 A. This -- this is not correct.
21                    EXAMINATION                                  21 Q. It is correct.
22 BY MS. PRIEST:                                                  22          TRUSTEE SAMSON: Okay. So, now, we have a dispute.
23 Q. Scott, on 5/24 of '21, last year, --                         23 Karen is saying you said this, and you're denying it. Okay?
24 A. Okay.                                                        24          THE DEBTOR: Yeah.
25 Q. -- I spoke with you in reference to paying out the trust.    25          TRUSTEE SAMSON: Alrighty?

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 1 A. Okay.                                                         1           MS. PRIEST: Sir, I have recorded information that
 2 Q. You said we had monies in the trust --                        2   is exactly (inaudible).
 3 A. We did.                                                       3           TRUSTEE SAMSON: Yeah. And you can share that with
 4 Q. -- for (inaudible) for each of us that you could pay out      4   your attorney. Okay?
 5 within a day, as soon as -- you could pay it out any time,       5           MS. PRIEST: Okay. All right.
 6 uhm, but you never did pay out that money. Now there's only      6           TRUSTEE SAMSON: And just so that you understand,
 7 $100 in the trust.                                               7   this is -- these creditor meetings are kinda weird, in that
 8 A. Right.                                                        8   they give you an opportunity to ask questions, but I -- I'm
 9 Q. My questions to you, you could pay -- have paid it out,       9   not -- I don't have a black robe. I just have to kinda use
10 you didn't pay it out. (Inaudible) had signed a document        10   my discretion.
11 that you had suggested we sign, which we did, which I now --    11     Ultimately, some of those types of questions will be
12 A. (Inaudible)                                                  12   presented, I assume, to a judge, and the judge can make that
13 Q. Okay. But if this could have been. And I said, this          13   decision.
14 could have been done and over way over a year ago.              14          UNIDENTIFIED MALE: Well, can I -- can I state
15 A. You're (inaudible)                                           15   this, Scott? I want you to know that this is a Federal
16 Q. My question is, why are the monies now at zero, when you     16   Court, and this has been recorded. Okay? So, this is
17 --                                                              17   Federal --
18 A. Because of --                                                18          TRUSTEE SAMSON: Okay. Yeah.
19 Q. -- had monies (inaudible)?                                   19          UNIDENTIFIED MALE: Thank you.
20 A. Because of your tax on the trust. It's all attorney's        20          TRUSTEE SAMSON: Mary, are you the person that's on
21 bills. I mean, it's all going to show. I mean, all's there      21   the phone that said you had a question?
22 is is the trust account. There are payments to McConkie, and    22          MS. CARTER: Yeah. Uhm, I have a couple that are
23 there are payments -- a few payments to the CPA in the last     23   related.
24 year. It's all --                                               24          TRUSTEE SAMSON: And, so, you've heard all the
25 Q. It's (inaudible) just a "yes" or no."                        25   back-and-forth here, do you kinda understand what I'm trying


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 1 to avoid? Which is you ask the question, we let Scott            1 BY MS. CARTER:
 2 answer, and then we go from there, okay?                         2 Q. Isn't it true that you created small businesses to divert
 3         MS. CARTER: Yeah, this is good.                          3 funds that should have been paid to Hugh's RV for maintenance
 4         TRUSTEE SAMSON: Okay.                                    4 and repair of the RVs?
 5                                                                  5 A. Absolutely not true. The monies from repairs and -- and
 6                   EXAMINATION                                    6 the -- Del Monte and Budget, and everything, were deposited
 7 BY MS. CARTER:                                                   7 directly into the bank account.
 8 Q. Well, We have never heard the answer (inaudible) --           8      If I were to do, like, a repair for Del Monte, it gets
 9         THE OPERATOR: Please pardon the interruption.            9 paid directly to Hugh's RV through wire transfer into his
10 Your conference contains less than three participants at this   10 bank account. I --
11 time and will be disconnected in two minutes. If you would      11 Q. Okay.
12 like to continue, press Star 1 now, or the conference will be   12          TRUSTEE SAMSON: Okay. Okay. Asked and answered.
13 terminated.                                                     13          MS. CARTER: Okay. I wanted to know that. Okay,
14 BY MS. CARTER:                                                  14 that's the end of my questions.
15 Q. -- and where was -- and where did the money go?              15          TRUSTEE SAMSON: Okay. So, here's what we're going
16 A. Okay. So, the last one that was --                           16 to do, folks. Uhm, I want to explain something to you, and I
17         THE OPERATOR: You have activated the leader help        17 want Mr. Shimanek and Eli to hear this.
18 menu. Press Star 0 for technical assistance. Star 1 to          18     While we've been in the middle of this conference, or on
19 reinitiate this help menu. Star 2 for conference roll call.     19 this creditor meeting, I received an email from the Clerk of
20 Star 3 for a private roll call. Star 4 for --                   20 the Bankruptcy Court telling me that this case had not been
21         THE DEBTOR: -- and your -- your text. I have            21 properly noticed to creditors.
22 documented, and I documented to Kent and his attorney. Each     22     Uhm, I responded to the email and said, "Well, I'm in
23 one of those was sold to an individual. Each check was          23 the middle of a creditor meeting right now on this case, and
24 copied, and each check is deposited into the Hugh's RV bank     24 I've got about 10 people on the screen." So, I -- I guess,
25 account. (Inaudible)                                            25 what I'm going to do here is I am not going to conclude this


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 1 BY MS. CARTER:                                                   1   meeting.
 2 Q. I don't believe we ever saw the checks that were              2     I am going to adjourn this meeting, because it may be
 3 deposited.                                                       3   that I may have to, in conjunction with the Clerk's Office,
 4 A. I -- check your texts, because that's the information I --    4   notice up a continued meeting, because it was not properly
 5 I gave to the attorney, and you have that --                     5   noticed to creditors. So, that just kind of adds a little
 6          TRUSTEE SAMSON: Scott, can you excuse me for two        6   bit of insult to injury for everything that you've all been
 7 seconds? Is there anybody on the conference on the telephone     7   through today.
 8 link?                                                            8       But, so, what I'm going to do is I'm going to announce
 9          MR. KENT WILLIAMS: Mary is.                             9   that we are adjourning the meeting. It's not completed or
10          MS. CARTER: I am on the --                             10   concluded. Okay? And if I have to reschedule another
11          TRUSTEE SAMSON: No, she's on the Zoom. I've got a      11   meeting, then I'll make sure that Mr. Shimanek gets notice.
12 separate line here that --                                      12   I'll make sure that Eli Patten gets notice. And then you can
13          MS. PRIEST: No, she's not on Zoom anymore, 'cause      13   let your respective clients know that we're going to have to
14 I couldn't hear her on that one.                                14   gather on another date and time for this meeting. Okay?
15          MR. KENT WILLIAMS: Mary is on the phone.               15       And I apologize. I'm not the one that notices up the
16          TRUSTEE SAMSON: Okay.                                  16   meetings to creditors.
17          THE DEBTOR: I think she is. (Inaudible), Mary.         17           MR. KENT WILLIAMS: None of us received notice.
18          TRUSTEE SAMSON: Mary, Do you have any other            18           TRUSTEE SAMSON: Really?
19 questions?                                                      19           MR. DUFFY WILLIAMS: Yeah.
20          THE DEBTOR: She talked before, but --                  20           THE DEBTOR: That was the bank of -- the Court,
21          MS. CARTER: I have one more. I have one more           21   itself, the Court Clerk?
22 question --                                                     22           MR. PATTEN: That was -- yeah, that would have been
23          TRUSTEE SAMSON: Yes.                                   23   the Court, itself.
24          THE DEBTOR: Yes.                                       24           TRUSTEE SAMSON: Yeah. And I'll try to explain it
25          MS. CARTER: -- for you, Scott.                         25   to everybody. Typically, in a case, any creditor that's


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                                                                   1                               CERTIFICATE
 1   listed as a creditor, or as what -- what I call an
                                                                   2
 2   "interested party," should get notice. And as I understand
                                                                   3        I, Julie L. DeLong, certify that the foregoing is a
 3   from the email that I received from the Clerk's Office today
 4   is that for some reason on this particular case, and I've 4       correct transcription from the recording of proceedings in
                                                                   5   the above-entitled matter to the best of my knowledge, skill,
 5   seen it happen the last couple of weeks in some other cases,
 6   cases did not get properly noticed. Meaning that you didn't   6   and ability.

 7   receive a notice in the mail telling you about this           7
 8   bankruptcy.                                                   8
                                                                         /s/ Julie L. DeLong                          11/06/2023
 9       So, I think the reason why the Court's now trying to 9        Julie L. DeLong                                Date

10   call me is they're probably saying, wait, you can't adjourn 10
11   this creditor meeting, because not everybody's had notice. 11
12   So, I just -- I apologize. I-- I -- I'm not the person in    12
13   charge of handling the noticing function -- functions. 13
14       So, anyway, Matt, I'll keep you and Eli posted, okay? 14
15           MR. SHIMANEK: Okay.                                  15
16           TRUSTEE SAMSON: And thank you guys for your 16
17   patience. But we're going to adjourn today. I've got         17
18   another meeting starting in about 15 minutes that I have to 18
19   get ready for.                                               19
20      Brenda and Karen and Duffy and Kent and Mary, thank you, 20
21   again.                                                       21
22           MR. DUFFY WILLIAMS: Thank you, Richard. 22
23           MR. KENT WILLIAMS: Thank you.                        23
24           TRUSTEE SAMSON: Okay.                                24
25           MR. KENT WILLIAMS: We appreciate it.                 25

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 1         TRUSTEE SAMSON: Scott, thank you for your time.
 2         THE DEBTOR: Okay.
 3         TRUSTEE SAMSON: Matt and Eli, thank you for your
 4   time.
 5      But you're all free to disconnect. Okay?
 6         MR. KENT WILLIAMS: Hey, Eli? Can you please call
 7   me, Eli?
 8         MR. PATTEN: Yes, definitely.
 9         MR. KENT WILLIAMS: Thank you.
10         TRUSTEE SAMSON: Thanks.
11
12                 (Audio concluded.)
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